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AppleSearch
Administrator's Guide



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•
'      AppleSearch Administrator's Guide




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Preface       About This Guide



              AppleSearch is a sophisticated information search-and-retrieval product
              consisting primarily of two application programs, AppleSearch Client and
              AppleSearch Server.
              This book, AppleSearch Administrator's Guide, provides an overview of the
              AppleSearch Server program and explains how to install and use the program.

              Who should use this guide
              This guide is intended for the person who administers an organization's
              AppleSearch online information sources. If you are familiar with AppleSearch
              administration, you should read the information specific to wide area
              information server (WAIS) information sources.
              AppleSearch User's Guide, a companion guide to this book, provides an
              overview of AppleSearch and describes the AppleSearch Client application
              program. If you are new to AppleSearch, you should start by reading
              Chapter 1 of that guide. To effectively support AppleSearch users, you will
              need to know the material covered in that guide.
              This guide assumes that you are familiar with basic Macintosh terms,
              concepts, and techniques presented in the manuals and training materials that
              come with your computer. In addition, you should be familiar with Macintosh
              file management, including file sharing.




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                    What this guide contains
                    Here is a brief summary of what you'll find in this guide:
                    • Chapter 1, "Getting Started," provides an overview of the AppleSearch
                      Server, lists the system requirements for your server, describes a quick-start
                      method of preparing your server, and tells you how to set up your server
                      with the Sharing Setup control panel and how to install the AppleSearch
                      server software.
                    • Chapter 2, "Using AppleSearch Server," tells you how to create and
                      maintain information sources to be searched by AppleSearch users.
                    • Appendix A, "AppleSearch Server Software and Files," lists changes from
                      previous versions of AppleSearch server software and describes the files
                      that make up the AppleSearch server software.
                    • Appendix B, "Troubleshooting," lists potential problems and suggests solutions.
                    • Appendix C, "Setting Access Privileges and Sharing Volumes and Folders,"
                      provides brief instructions for sharing volumes and folders and for setting
                      access privileges by using AppleShare or the file-sharing feature of System 7.
                    • Appendix D, "Making an AppleSearch Pre-indexed CD-ROM," tells you
                      how to store an AppleSearch information source and its index on a CD-ROM.

                        more information
                    If you want more information about AppleSearch, refer to the following
                    manuals from Apple Computer:
                    • AppleSearch User's Guide describes how to use the AppleSearch client to
                      retrieve information.
                    • AppleSearch Client Developer s Guide describes how to write a client
                      interface to an AppleSearch server.
                    • AppleSearch Update File Format Reference describes how to customize
                      the AppleSearch newspaper-like update to meet the needs of your
                      particular organization.




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    • AppleShare Server Administrator s Guide provides detailed information
      about AppleShare File Server software, including how to set access
      privileges for shared folders by using AppleShare.
    • The Macintosh User s Guide or Macintosh Reference manual that came
      with your computer describes peer-to-peer file sharing and how to set
      access privileges on your folders by using the Macintosh file-sharing
      feature of System 7.




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1        Getting Started



         This chapter introduces AppleSearch server concepts. It also describes the
         hardware and software you need to set up an AppleSearch server and provides
         software installation instructions.




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    AppleSearch server overview
                          An AppleSearch server is typically a high-performance computer that also
                          provides other network services, such as file sharing, printing, and database
                          access to a number of client computers. The network can be as simple as a
                          single client and server in the same room, or as complicated as many clients
                          connected to servers across thousands of miles.

                          The AppleSearch server software running on the server computer collaborates
                          with the AppleSearch Client application program to provide AppleSearch
                          users with fast, tailored access to information. Electronic search agents called
                          AppleSearch reporters present the server with queries from users, to be
                          performed immediately or on a schedule specified by the user. AppleSearch
                          Server responds by searching the specified information, ranking the results,
                          and returning those results to the client computer. The user can then request
                          copies of original documents from those information sources, which the server
                          sends to the user's computer.

                          The AppleSearch server treats information as organized groups of documents
                          known as information sources. An information source consists primarily of a
                          set of shared documents and an extensive index to the full text of those
                          documents. AppleSearch currently supports two types of information sources:
                          local information sources and remote information sources.

                          The contents of local information sources are kept on the AppleSearch server.
                          Typically, local information sources contain the types of files found in all
                          organizations: memos, financial data, operational procedures, personnel
                          policies, and so forth. In general, if your organization creates or maintains a
                          document, that document will be stored in a local information source.

                          Local information sources can be kept on any locally attached SCSI device,
                          such as a hard disk or CD-ROM drive. Some CD-ROM discs are available
                          pre-indexed for AppleSearch. With additional hardware and software, you can
                          have some commercial online services such as news wires add documents
                          directly into your local information sources.

                          A remote information source represents a searchable collection of information
                          kept on a remote server that is connected to the AppleSearch server over a
                          network. CulTently, AppleSearch supports one type of remote information
                          source, known as a WAIS information source. (WAIS stands for wide area
                          information server.)



    2   Chapter 1 / Getting Started




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    The following figure shows an AppleSearch server with a local information
    source as well as a WAIS information source and the remote information it
    represents.

    AppleSearch server                                  Remote WAIS server




    AppleSearch and WAIS
    A WAIS server is a computer that contains at least one WAIS database-that
    is, a set of files and an index of all the text in those files. The organization that
    maintains the database can offer search and retrieval access to the database
    over the network. Typically, WAIS databases are made available by
    organizations that have an interest in sharing information they generate.
    Organizations, including universities, research firms, businesses, and
    government agencies, have made WAIS databases available (many at no
    charge) to anyone who can connect to them.
    WAIS databases are similar to local AppleSearch information sources in many
    ways. AppleSearch takes advantage of these similarities to allow you to screen
    WAIS databases and make them available to your users as WAIS information
    sources. WAIS information sources have some limitations, which are
    explained as appropriate throughout this guide.




                                                         AppleSearch server overview    3




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                          AppieSearch and the Internet
                          Most WAIS servers are connected to an intercontinental network called the
                          Internet. The Internet, simply stated, is a communications network that
                          supports information sharing among many computers, as shown in the
                          following figure.

                          AppleSearch server


                                               I.




                                                                                       Library




                                                                             Research
                                                agency                      organization


                          The Internet provides for standardized communication of information by using
                          a set of protocols known as the Transmission Control Protocol (TCP) and the
                          Internet Protocol (IP), commonly referred to together as TCP/IP. Using
                          MacTCP (TCP/IP software from Apple), AppleSearch Server gives your
                          organization managed access to many WAIS databases available through your
                          Internet connection.
                          Computers are typically connected to the Internet in one of two ways: by
                          means of a direct connection through a router, or by means of a dial-up
                          connection through a modem. Direct connections are faster, and they tend to
                          be more reliable. Because timeliness and accuracy of communications can be




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   critical for search and retrieval operations, a direct Internet connection is
   recommended for AppleSearch.
   Dial-up connections are more suitable for small, short-term transactions. Such
   connections are typically less expensive, but their lack of speed, reliability,
   and availability limit their usefulness for information search and retrieval
   transactions on a server.
   The AppleSearch WAIS Gateway program provides a software connection to
   WAIS databases. AppleSearch Server uses the WAIS Gateway to allow you to
   make WAIS databases available to your users as WAIS information sources.
   This interaction is shown in the following figure.

    AppleSearch server



                                                     WAIS
                                                   directory
                                                 : of servers




   IIVIPORTANT All WAIS information sources can be searched by all AppleSearch
   client software users. Some material published on the Internet through WAIS
   may be inappropriate for your users and their needs. As soon as you add a
   WAIS information source, it is recommended that you screen its content by
   running some test searches. (For more information, see "Adding WAIS
   Information Sources" in Chapter 2.)

   With a few clicks, you designate your shared folders and selected WAIS
   databases as information sources. With a few more clicks, you tell
   AppleSearch to index the local information sources. They are then ready to be
   searched by authorized AppleSearch users.




                                                        AppleSearch server overview   5




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                          The AppleSearch administration windows can indicate the changing needs of
                          AppleSearch users. Depending on client and server demands, you may want to
                          consider adding new information sources, upgrading the processing power or
                          disk capacity of your server, or making similar adjustments.

                          Indexing local informa'lion sources
                          Once you have added a shared item as a local information source, it's ready to
                          be indexed for searching purposes. For each local information source,
                          AppleSearch Server creates an index of every distinctive word in every
                          available document. Using a technique called stemming, AppleSearch also
                          indexes variations of search words. There is no need for you to manually
                          create lists of keywords or pointers to the information in the documents.
                          The content of local information sources is likely to change over time. As the
                          information sources change, the indexes must be updated. The contents of new
                          documents are not available to be searched until they have been indexed. The
                          required frequency of such updates will depend on such factors as the type of
                          information to be managed, the frequency and volume of your data capture
                          activities, and the needs of your users. AppleSearch makes it easy for you to
                          schedule indexing to occur automatically at times that you specify.

                          Searching information sources
                          AppleSearch Server performs a detailed search of the specified information
                          sources. Because all the text is indexed, no document relevant to the search is
                          overlooked. Two types of searches, immediate and scheduled, are supported
                          for both local and WAIS information sources. The AppleSearch Client user
                          initiates both types of searches by creating a reporter, an electronic search
                          agent that embodies the user's search criteria and attempts to ensure that the
                          search results in valid information.
                          In an immediate search, the reporter presents the search request to the server,
                          which then searches the specified local and WAIS information sources and
                          immediately delivers results to the user's computer. This interaction is shown
                          in the following figure.




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     Client/server interaction-an immediate search
     Client                           Server




     The user defines a search request     The reporter immediately searches the
     by creating a new reporter.           indexes of the selected information
                                           sources for articles that match the search
                                           criteria.




     The user reviews the search results   The reporter finds matches to the search
     and selects articles for viewing.     request, ranks them, and informs the user
                                           of the results of the search.




     The user views the text from the      The server makes the text from the original
     client computer.                      available for the user to view.




     After viewing the full text of the    The server transfers the text files to the
     article the user can choose to save   user's computer.
     a copy of the text.



                                                             . ~. .·
                                                          D.--.-
                                                          o
     Alternatively, the user can request   The server delivers the original formatted
     the original formatted document       document from the local information
     (including any graphics) from local   source to the user's computer.
     information sources on the server.




                                                           AppleSearch server overview   7

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                          Scheduled searches are run to obtain information that is new or changed in an
                          information source. In a scheduled search, the reporter presents the search
                          request along with the day and time the search should be run. The search then
                          proceeds as depicted in the following figure.

                           Client/server interaction-a scheduled search
                           Client                            Server




                            The user defines a search request            The reporter is saved on the AppleSearch server.
                            by creating a new reporter and               The server continues to update local information
                            defining the reporter's schedule for         source indexes as scheduled, collecting
                            searching for new or changed                 information about documents that meet search
                            information.                                 requests.



                               ~;~»
                                 ,
                                   "...."
                            At the scheduled update time,                The server searches WAIS information sources.
                            AppleSearch Client requests the              It also gathers the information it has collected
                            update information from the server.          from searches on local information sources
                                                                         indexed since the last search. It sends the results
                                                                         to the user's computer, including the entire text of
                                                                         the articles found.




                            AppleSearch Client presents the
                            results of the search in a newspaper,
                            like update. The user can view the
                            update to see just the first few lines of
                            all articles found, or open the article to
                            view its entire text.




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        Ranking search results
        Before delivering search results to the user, AppleSearch applies a
        sophisticated relevance-ranking algorithm to the documents it found, rating
        them according to the user's search criteria. This ranking takes into account
        such attributes as frequency and proximity of search words, commonality of a
        particular search word to documents within an information source, and the
        length of the documents. The results of this ranking are displayed as an
        ordered list for each selected information source, with the highest-ranking
        documents at the top.

        Document formats
        Files in WAIS information sources are typically stored in a text-only format.
        AppleSearch automatically translates certain file characteristics (such as end-
        of-line characters) as required.

        Security
        The use of AppleShare or Macintosh file sharing allows you to protect your
        information. Three levels of security are available for each shared volume or
        folder: See Folders, See Files, and Make Changes. You can assign the different
        levels of security to users and groups for a particular shared item. For further
        information, see Appendix C, "Setting Access Privileges and Sharing Volumes
        and Folders."




                                                          AppleSearch server overview     9




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   System requirements
                          To allow you to tailor your systems to your organization's needs and
                          resources, the AppleSearch server software runs on a variety of Macintosh
                          computer configurations. The following sections describe possible hardware
                          and software components you might need.

                          Server hardware requirements
                          • any Macintosh computer with a 68040 microprocessor
                          • any Power Macintosh computer

                          Network hardware requirements
                          Your server must have a hardware connection to an AppleTalk network. If
                          your server is already running AppleShare File Server or Macintosh file
                          sharing, you may not need any additional hardware. Some possible network
                          connection hardware options are as follows:
                          • LocalTalk connectors and cables. LocalTalk hardware provides an
                            inexpensive AppleTalk local area network solution, typically used by
                            smaller organizations that need to emphasize economy over speed.
                          • A modem and cables. If you want users to be able to connect to your
                            AppleSearch server by using Apple Remote Access, you may need a
                            modem connected to one of your system's built-in serial ports.
                          • Ethernet connectors and cables. Ethernet is typically chosen for its speed
                            advantages. Ethernet hardware is built into many Macintosh computers. If
                            your server does not have built-in Ethernet capability, it will require an add-
                            in Ethernet card. In either case, you will need the appropriate cables.




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   Memory and disk requirements
   Your system must meet the following random access memory (RAM) and hard
   disk (or similar secondary storage) requirements:
   • A minimum memory partition of 3.5 megabytes (MB) for the AppleSearch
     Server program, and an additional 1 MB if the WArS Gateway is installed.
   • At least 8 MB of RAM to run concuo-ently with AppleShare 3.x.
   • At least 12 MB of RAM to run concuo-ently with AppleShare 4.x.
   • If you're using an Apple Workgroup Server 95, you need 16 MB of RAM
     to run concuo-ently with AppleShare File Server Pro.

   Operating-system requirements
   Your server must be running one of the following operating systems:
   • System 7 or later
   • System 7 Pro
   • A/UX 3.1 or later

   Network software requirements
   Your server must also be running additional networking software:
   • AppleTalk software. AppleTalk is built into your system, but it must be
     activated by means of the Chooser application in the Apple menu.
   • Program linking. Program linking is built in, but it must be activated by
     means of the Sharing Setup control panel.
   • AppleShare File Server 3.0.2 or later, or Macintosh file sharing. Macintosh
     file sharing is provided in Macintosh system software; AppleShare,
     purchased separately, can be installed to provide a higher-performance
     server configuration that allows for a greater number of users and has more
     security features.
   • MacTCP. To take advantage of the WAIS Gateway capabilities of
     AppleSearch, you will need to install and configure MacTCP. If you are
     running System 7 or System 7 Pro, you need MacTCP version 2.0.4. If you
     are running NUX, you must use the version of MacTCP that came with
     your A/UX software.




                                                          System requirements    11




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     Quick guide to preparing your server
                           Confirm that the following conditions are met in order for your Macintosh
                           computer to act as a server:
                           • Your server must be registered in the Sharing Setup control panel. Your
                             server must have a name so that other users will see it when they look for it
                             in their "Select an AppleSearch server" dialog box.
                           • Your TCP/IP software must be properly installed and configured if you
                             want to take advantage of remote infOlmation sources (through the WAIS
                             Gateway feature). For further information, refer to the guides that came
                             with your MacTCP software or with your computer.



     Setting up your server with the Sharing Setup control panel
                           In order to set up your computer as a server, you need to name your server,
                           specify its owner, and enable program linking by using the Sharing Setup
                           control panel.
                           If you're using the file-sharing feature of System 7, you must also use this
                           control panel to activate file sharing.
                           Note: If you're using AppleShare File Server, the File Sharing section does
                           not appear in the Sharing Setup control panel.

                           To set up your AppleSearch server:
                           Open the Sharing Setup control panel.




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                         Sharing

      I~ Network Identity
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                ~hmE>




2   In the text box labeled Owner Name, type the administrator's name or some term that will
    readily identify him or her.

3   In the text box labeled Owner Password, type a password to be used by the
    administrator.

4   In the text box labeled Macintosh Name, enter the name of the AppleSearch server.

S   If you are using file sharing instead of AppleShare, click the Start button in the File
    Sharing box.
    If you're using AppleShare, ignore this step. (The File Sharing box does not
    appear if you are using AppleShare.)
6   Click the Start button in the Program Linking box.
    AppleSearch Server communicates with AppleSearch clients by using the
    AppleTalk Program-to-Program Communications (PPC) facility, a component
    of System 7. For PPC to work correctly with AppleSearch, program linking
    must be activated on the server.

    With program linking activated on the server, you allow users who have been
    granted access to a program, such as AppleSearch, to link to it. Later, you'll
    activate program linking for registered users and guests, thereby granting them
    access to AppleSearch.




                                   Setting up your server with the Sharing Setup control panel   13
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            Installing AppleSearch server software

                                   Performing an Easy install procedure
                                   To install all of the AppleSearch server software at once:
                              1    Insert the disk AppleSearch Server 1into your disk drive and open the Installer program.
                                   The Installer dialog box appears.




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                                               •   HIND System 1.3.6
                                               •   Maclinl< Plus RppleSearch Tt-anslators   ((   I ostall   D
                                               •   RppleSearch WillS 6atem-ay




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                              2    Select the disk or partition where you want to install AppleSearch; then click Install.

                              3    Remove the AppleSearch Server 1disk and insert the AppleSearch Server 2 disk when
                                   prompted by the software.
                                   In a few moments, you are prompted to re-insert the AppleSearch Server 1
                                   disk to complete the installation.
                              4    Remove the AppleSearch Server 2 disk and re·insert the AppleSearch Server 1disk.
                                   When installation is complete, a message appears, indicating that installation
                                   was successful and that you need to restart your computer to be able to use
                                   the software.




            14   Chapter 1 I Getting Started
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5   Click the Restart button.
    After the computer restarts, you can find the AppleSearch Server program in a
    folder called AppleSearch Server. The folder resides at the root level of the
    volume that you specified in Step 2.
    The installation process places each component of the AppleSearch server
    software in its correct place. Refer to Appendix A for a description of the
    AppleSearch server software components and where they reside.
    If you're using a version of AppleShare File Server earlier than 3.0.2, you
    must upgrade your AppleShare File Server software.

    Performing a customized installation
    Insert the disk AppleSearch Server 1into your disk drive and open the Installer program.
    The Installer dialog box appears.

                Install

            Click the Install button to install
               • AppleSearch Semel'
               • IIIND SlIstem 1.3.6
               • Mactink Plus AppleSearch Translators    tt Install D
               • AppleSearch IDAIS G'ateway
            on the hard disk named
            =   APS backup



                                                        rSwitch Disk I
                                                        [ Customize j


      3.4




2   Select the disk or partition where you want to install AppleSearch; then click the
    Customize button.
    The custom-installation dialog box appears.




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                       3   Select the items you want to install; then click the Install button.

                                Click the items you want to ",elen;
                                .Shift-(Iick to select multiple items.
                                RppleSearch Sen'er
                                HTNO system 1.3.6
                                                                                              n Install D
                                MacUnkPlus IIppleSearch Translators
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                                                                                              ( Switch DIsk)
                                                      Date:             Fr-i ,JIJI 1 J 1994
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                                 Irrst",l1$ the Appl.:-Se3rc~1 \l AIS 1J-:rte\'laIJ




                           Note: If you select only one item, as shown in the preceding illustration, a
                           description for that item appears in the lower portion of the dialog box.
                           If your server is not connected to the Internet, you should not select the
                           AppleSearch WAIS Gateway file. If this file is not installed, remote
                           information source features are not supported, but all local information source
                           features will operate normally.
                           When the installation is complete, a message appears, stating that installation
                           was successful and that you need to restart your computer to be able to use
                           the software.
                      4    Click the Restart button.
                           After the computer restarts, you can find the AppleSearch Server program in a
                           folder called AppleSearch Server. The folder resides at the root level of the
                           volume you specified in step 2.
                           The installation process places each selected component of the AppleSearch
                           server software in its correct place. Refer to Appendix A for a description of
                           the AppleSearch server software components and where they reside.
                           If you're using a version of AppleShare File Server earlier than 3.0.2, you
                           must upgrade your AppleShare software.




    16   Chapter 1 J Getting Started




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   Using AppleSearch Server



   This chapter explains how to use the AppleSearch Server program to
   administer an AppleSearch server. It tells you how to
   • start AppleSearch Server
   • add shared volumes or folders as information sources
   • name, organize, and index local information sources
   • move an index
   • compact an index
   • hide and show an information source
   • remove an information source
   • set preferences
   • use the server activity log
   • understand the AppleSearch Status window
   • use the Reporter List window
   • work with the AppleSearch stopwords list
   • quit AppleSearch Server

   Differences between local information sources and WArS information sources
   are identified throughout this chapter as appropriate.




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    Starting AppleSearch Server
                         To start AppleSearch Server:

                         Open the AppleSearch Server folder.
                         When you install AppleSearch Server, it is placed in the App1eSearch Server
                         folder at the root level of your hard disk.
                         Note.' To ensure that the AppleSearch software starts each time you start up
                         your server hardware, you can put the application or its alias in the Startup
                         Items folder in the System Folder (on the Macintosh Operating System) or the
                         /mac/sys/System Folder/Startup Items folder (on A/UX).
                         AppleSearch Server need not remain at the root level of the disk or partition.
                     2   Open the AppleSearch Server icon.
                         Note: If program linking or file sharing (either AppleShare or Macintosh file
                         sharing) has not been activated, a message similar to the one in the following
                         alert box appears.

                                     File Sharing and Program linking are off. Users
                                     cannot cun-enlly connect to the f1ppieSearch
                                     Server. To allow users to connect, please tum
                                     on File Sharing and Program linking in the
                                     Sharing Setup control panel.

                                                                        n    OK        ))



                         CIickthe OK button and AppleSearch Server starts. To allow users to
                         perform searches with AppleSearch, you must activate program linking in the
                         Sharing Setup control panel. You must also start AppleShare or Macintosh
                         file sharing. (See Chapter 1 for instructions for activating program linking
                         and starting file sharing.)
                         Note: You must also activate program linking for each AppleSearch user,
                         using the Users & Groups control panel for Macintosh file sharing or the
                         AppleShare Admin program for AppleShare.




    18   Chapter 21 Using AppleSearch Server




                                                                                            APLNDC630-0000441973
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               The AppleSearch Status window opens.


                     Current Status: Idle
                   Pending Searches: 0

                                                        Shared I nforlll8ti<l0 Sources                    9
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                                                [D, elt.horrQr.cthul hu
                                                [D, MIIJ-Au3tPhilO$ophyFoflJ ..
                                                [D, AflU- P~cjfic-li n9ui3f.ic~
                                                {D, ANlI-5h.amafli8m-'3~udje'~
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               If you have correctly installed the WAIS Gateway and this is the first time
               you have started AppleSearch Server, AppleSearch now tries to find the
               available WAIS servers. The message "Scanning for WAIS servers" appears
               in the status window.
               Note: This process typically takes from 10 to 20 minutes. During this first
               scan, WAIS information sources will be unavailable, but you can continue to
               work with all the other features of AppleSearch.
               When AppleSearch users connect to the server, their names appear in the
               Connected Users column. The names of information sources available for
               searching appear in the Shared Information Sources column. Initially, both
               columns are empty.

               The next section explains how to add information sources.


Administering AppleSearch information sources
               An information source represents a shared volume or folder of documents that
               AppleSearch reporters can search in response to a user's search request. An
               AppleSearch reporter can search only information sources that you make
               available on the server.




                                                                Administering AppleSearch information sources   19




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                        local information sources
                         A local information source can be on any hard disk or CD-ROM. You can
                         designate existing folders on your hard disk as information sources, or you
                         can create new information sources by creating folders and copying
                         documents to them.

                         Some online services, such as a specialized news wire service, may
                         automatically place document files into a local AppleSearch information source.
                         To make the content of such files available for information searches, ensure
                         that you have the appropriate XTND translators or that the files are text-only.
                         (Appendix A lists the XTND translators that are included with AppleSearch.)

                         You can also use almost any CD-ROM disc as an information source. If the
                         CD-ROM is pre-indexed as an AppleSearch information source, you can
                         improve the searching speed by copying its index to the server hard disk before
                         you add the information source. See "Moving an Index From a Pre-indcxed
                         CD-ROM to a Hard Disk" later in this chapter, for more information.

                         If you use other text-based CD-ROM discs as information sources, you don't
                         have to take special steps to get the same improvement in performance. When
                         you create the indexes for such CD-ROM discs, you can store them only on a
                         hard disk, since all CD-ROM discs are read-only.
                         Note: You cannot store information sources on floppy disks or remote
                         AppleShare server volumes.

                        WAIS information sources
                         WAIS information sources require very little administration on your part, other
                         than managing users' access. The WArS server administrator performs file
                         maintenance and indexing for WAIS databases. AppleSearch Server uses a
                         WAIS information source to represent a WAIS database.




   20   Chapter 2 I Using AppleSearch Server




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                Most WAIS databases are listed on servers known as WAfS directory servers.
                AppleSearch maintains a file (named WAIS Directory Servers) of addresses
                for well-known directory servers. The first time you start AppleSearch Server,
                it uses these addresses to connect to the directory servers to scan the Internet-
                that is, to get the addresses of publicly accessible WAIS databases.
                AppleSearch also maintains a list of these addresses in another file, WAIS
                Data, that it creates during the first Internet scan. When the scan is completed,
                AppleSearch Server disconnects from the directory of servers.
                Note: The WAIS Directory Servers file is a text-only file that you can edit; its
                format is described in Appendix A. The WAIS Data file is maintained by
                AppleSearch; you cannot edit it.
                Once the AppleSearch server software has scanned the Internet and updated
                the WArS Data file, a WAIS Databases item appears in the volume list (on the
                left side of the Information Sources window), identified by its unique icon.

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                 D TDDI$
                 D Too]$1
                 CJ Tools 2
                 :tf' 'NAI:3 Dat"bB3e$
                 LJ 'w'hHe b8i;;k'Jr')lJnd
                 tJ ;NrltlW}
                 CJ Writing I                {j

                Opening this item causes AppleSearch to display an alphabetized list of folders,
                each containing an alphabetized list of WAIS databases. This list represents the
                WAIS servers that were listed by the directory of servers at the time the scan
                was perfOlmed. The presence of a WAIS database in this list does not guarantee
                that the database will be available for searching at any time.
                AppleSearch connects to a WATS server only when sending a query to that
                server or getting information about a WATS database. It does not need to
                maintain the connection at other times.




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                             Administering AppleSearch information sources                    21




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                        Adding local information sources
                        To designate a shared volume or folder of documents as a local AppleSearch
                        information source, simply add the shared item to the list of information
                        sources, as described in this section.
                        Note: If the WAIS Gateway is installed, AppleSearch Server automatically
                        runs an Internet scan the first time you start the application. You can continue
                        working with local information sources while the scan is running.
                        Before adding local information sources, make sure that you have sufficient
                        disk space, equal to 2.5 times the size of the information source, for storing the
                        index and temporary files. Temporary files, discussed later in this chapter, are
                        created when AppleSearch Server indexes local information sources. If you don't
                        have enough room on your startup disk - the default location for storing
                        temporary files-choose Preferences from the Server menu and select another
                        locally connected disk for the temporary files.
                        AppleSearch Server has a default memory allocation of 3500 kilobytes (K) of
                        RAM. 4000K is recommended. To change this allocation, click the
                        AppleSearch Server icon once to select it, choose Get Info from the File menu,
                        and enter the new allocation in the Preferred Size text box. This amount of
                        memory is sufficient to support about ten local information sources. You need
                        to allocate an additional lOOK to AppleSearch Server for each local
                        information source beyond the ten that you add.




  22   Chapter 2 , Using AppleSearch Server




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    To designate shared items as local information sources:

    Choose Information Sources from the Server menu.
    The Information Sources window opens.


              I[&j De.sktop "'" I                         Inform:9tlon Sources:
            TCPllP Aljrilinistt'.Btlon                    [f0, aeron8uHc.?;                Q
       LJ   TCP/IP O)flnectillfl                           m, altgopher
       LJ   Tes1s                                          t10 >):It:'l!81::;
       LJ   Tests 1                                        )~~ Cot"porate Ne~. t~
       LJ   TQols
       LJ   Tooh 1
       LJ   Tools 2
       .<1'.' WAIS D.t.Mse,
       LJ \Nritin~
            Wnting 1




2   Click the shared volume or folder that you want to add as an information source.
    Shared volumes and folders are listed on the left side of the window. If necessary,
    open one to see its contents, or use the pull-down menu above the column to
    see folders and volumes at levels higher than those in the list.


              I[&j Desktop"'" I                           I nforrnatiofl Sources-

       LJ TCP/lPAljmint;~tratjJ)n        {}   Rdd         tfb -lerOflaIJtic:;;
       LJ rep i IP CQnnect10n                             m, altgopher
                                              Open        [fgJ alh!.is
       LJ Tests
       LJ Te:~ts f                                        ~      Cr.trpof{rte. Ne\.... s
       LJ Too18
       LJ Too13 1
       LJ TOI)h 2




    Refer to Appendix C, "Setting Access Privileges and Sharing Volumes and
    Folders," if you need help setting privileges and sharing items.




                                                     Administering AppleSearch information sources   23




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                     3 Click the Add button.
                         This action adds, or designates, the volume or folder as an infOimation source. An
                         Options dialog box appears, allowing you to specify a location for the index of
                         the information source. The default volume used to store the index is the
                         volume that contains the information source.

                                                  "Literature" Options



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                               thl? y •..,iUITt>? ZOQ\'/fl ao.;...,">?




                                                              r Cancel                   [(         OK             11


                     4   Use the "Store index on" pop-up menu to specify where you want to store the index files
                         associated with the information source.
                         The pop-up menu contains a list of aU locally connected volumes on your server.
                         The index is stored in a folder called AppleSearch Indexes at the root level of
                         the volume you select. To avoid running out of storage space, try to select a
                         volume that has an amount of free disk space 2.5 times the size of the
                         information source. This amount of space is required to store the temporary
                         files associated with indexing as well as the permanent index files.
                         For example, if you're creating an index for 10 megabytes (MB) of text. about
                         25 MB of free disk space is recommended for the total indexing process:
                         10 MB of disk space for the temporary files plus another 10 to 15 MB of disk
                         space for the permanent storage of the index. After the permanent index is
                         created, the temporary files are automatically deleted, thereby freeing up the
                         disk space that they occupied. You can use the Server Preferences window to
                         specify that the temporary files be stored on an alternate volume.
                         If free disk space is in short supply, you can reserve less than the
                         recommended space for the storage of temporary tiles (but not less than the size
                         of the information source). In this case, indexing will proceed slowly, a few
                         files at a time, but will still be completed.

                         IMPORTANT If you move the information source from one volume to another,
                         you must re-index it from the new location. If AppleSearch doesn't find the
                         information source on its original volume, it deletes the original index.




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    Without an index, AppleSearch users will be unable to conduct information
    searches on the relocated information source.

5   Click the OK button.
    In the lower-right portion of the Information Sources window, a message
    indicates that AppleSearch is adding the infolTImtion source. AppleSearch
    automatically creates an AppleSearch Indexes folder, if one does not already
    exist, and creates files to hold the index for the specified information source.
    At this time, AppleSearch Client users can see the information source in their
    reporter windows, but won't be able to search it until it is indexed.
    The information sources that you add are listed on the right side of the
    Infolwation Sources window.


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                                            tiJ 31t.\'ld13
                                            £~\}    C(lrpC1t"atl3 Ne\. . :;;
                                            fA] VI'"ritl09




    Adding WAIS information sources
    To designate a WAIS database as an AppleSearch infOlwation source, simply
    add the WAIS database to the list of information sources, as described in this
    section. AppleSearch supports up to 100 WAIS information sources at a time.

    Before you can add WAIS information sources, AppleSearch must connect to
    the Internet and successfully complete a scan for WAIS databases. If the WAIS
    Gateway is installed, this scan will run automatically the first time you start
    AppleSearch Server.




                                       Administering AppleSearch information sources   25




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                              IMPORTANT All AppleSearch Client users who have access privileges to your
                              AppleSearch server can see all WAIS information sources available through
                              that server. InfOlmation in a WAIS database is maintained solely by the
                              organization that publishes the database and can be inappropriate to the needs
                              of your users. If such material is of concern to your organization, you should
                              carefully screen each database as soon as you add it as an information source.


                              To designate a WAIS database as an information source:

                              Choose Information Sources from the Server menu.
                              The Information Sources window opens.

                                                             Information Sources ..

                                        I~ Desktop "'1                         Inlorma1ic,o Sources:
                                 CJ TCP/IP ;~dmlnhtrBti!)n   0                  ffb aeronautics
                                 CJ TCP/IP Conne"tion                           ffk altwph.r
                                 CJ Tests                                       ah    ;jH.\{llls

                                 CJ Tests I                                     111 Corporate Ne'w':}
                                 CJ Tools                                       i~ V'l ri-ti fll]
                                 CJ T(j;)l~ 1
                                 LJ TOl)l:~ 2
                                      V1AIS Database~
                                      "Nriti ng
                                 CJ ''JVrltl01J 1

                                         Name: fQrm4U>?d
                                         Kind; fo1det-




                         2    Open the WAIS Databases item.
                              The WAIS Databases item appears at the root level in the hierarchical list at
                              the left side of the window. An alphabetical list of folders appears. WAIS
                              database names are divided among the listed folders.




l       26   Chapter 2 / Using AppleSearch Server




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                                                             Information Sources

               I~'WRIS Databases ... \                                                           ! nf(irfi);~il!)n Source:;;:
           i"ID WAISf,-Anu
           i"ID WAIS !lnu-An"
           i"ID WAI:, Ar - Bi to
           i"ID WAIS Blb-Cm
           i"ID INAIS en-Com
           i"ID WAIS Com-Doe
           i"ID ·...'1+118 Do\·!-Fu
           L3J WAI3 FIJ-Im
           i"ID WAIS In-Iub
             !J.    ViAlS lub- Lp




3   Open a folder of WAIS database names.
    An alphabetical list of WAIS database names appears, as indicated by the
    range in the folder name.
4   Click the WAIS database that you want to add as an information source.
    This action selects the WAIS database that AppleSearch users will search.

5   Click the Get Info button to see a short description of the WAIS database (optional).
    A short description of the database is displayed to help you determine whether
    it contains information of interest to your users. WAIS database descriptions
    are published by the database administrators and (when available) vary widely
    in their detail and accuracy. Up to about 1000 characters of the published
    description are displayed in a separate window named after the database.


          '107-1:        S1)urc", Nam,,: ,eron.utioo
          ~               SQurc@' Host: aerc,rMutk:;;
           -------------------------1
       Description:



     This SI?t"'l"?t" has the ¢ont>?nts .)f the !'ti.'."ron';'IJtic:s: m-allinog li:rt ftp ~r>?!l on
     rt.!$.:::aU<:'$.ljt;;..~<as.e4jJ. Upd·!lt"tij nightl'J fl"om tho;-     area. H'iW>?'$ wh.lt the
    , ffiaj£w dir€'otOflJ '?3to?gOri;:s: .an? Ctt"Qm the ftp area                      f11>?)

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     ,airline-f<)ider                Infurmation on Oiirlines (not                        iilirliflBrs)
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                          Note: The description is obtained from the WAIS server over the Internet
                          when you click Get Info. Consequently, it may take some time to appear in the
                          window. You can cancel the process at any time by closing the Info window.

                       6 Click the Add button.
                          This adds, or designates, the WAIS database as an information source. Note that all
                          AppleSearch Client users with the correct access privileges for the AppleSearch
                          server can see and use all WAIS information sources.

                           Managing WAIS servers
                          Because WAIS servers are maintained independently by the organizations that
                          own them, they require no administration on your part. However, you also
                          have no control over them, and their status is not predictable. Adding a WAIS
                          database as an information source does not guarantee that the database is
                          available for searching. New servers can become available, and servers you
                          use often can change or become unavailable.

                          The first time you strut AppleSearch Server, it automatically scans the Internet
                          to create its list of databases in the WAIS Data file. The process of scanning
                          the Internet can take up to 20 minutes; during that time, remote information
                          sources and the AppleSearch features related to them are not available. After
                          the first scan is completed, the automatic scan occurs only if the WAIS Data
                          file can't be found when you start AppleSearch Server.

                          To scan the Internet for WAIS databases, AppleSearch Server connects to
                          WAIS directory servers (as listed in the WAIS Directory Servers file) and
                          obtains the addresses each server lists for WAIS databases.
                          Note: You can edit the WArS Directory Servers file to have AppleSearch
                          Server search additional WAIS directory servers. This file is discussed in
                          Appendix A.

                          This automatic scan process can fail if a problem occurs - for example, if your
                          connection to the Internet has been broken. If the scan fails, AppleSearch does
                          not try the scan again. Correct the problem; then quit the AppleSearch Server
                          program and restart it.




     28   Chapter 21 Using AppleSearch Server




                                                                                         APLNDC630-0000441983
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    You can use the AppleSearch server log to determine if there are problems
    with a WAIS information source. You should remove a WAIS information
    source if the log contains a large number of elTor messages for the
    cOlTesponding WAIS database, suggesting that the database is not reliable or is
    no longer available.

    It is recommended that you have AppleSearch update your WAIS Data file at
    least once a week, to ensure that AppleSearch has access to newly available
    WAIS databases. You can initiate this update in two ways:
    • Immediately, by choosing the "Scan for new sources" item from the
      Internet menu.
    • Periodically, by scheduling a scan time in the Server Preferences dialog
      box. (See "Setting Preferences," later in this chapter.)

    AppleSearch uses the existing WAIS Data file during the update process,
    allowing you continued access to your WAIS information sources. Upon
    completion of the update process, the contents of the existing file are replaced
    by the updated information.
    Note: If a WAIS database listed in the WAIS Data file is not found listed in
    any WArS directories during four consecutive scans, AppleSearch removes the
    entry for that database from the WArS Data file and removes the
    cOlTesponding WArS information source.

    Some WAIS databases are not listed on WAIS directory servers. For example,
    you might maintain a WAIS database of proprietary documents within your
    organization. To make such a database available to AppleSearch, add its
    address to the WAIS Custom Databases file. This file is described in
    Appendix A.

   Indexing information sources
    A local information source is not available for searching until it has been
    indexed. A separate index must be created for each information source, as
    illustrated in the following figure.




                                       Administering AppleSearch information sources   29




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                        Local information sources and indexes on the AppleSearch server




                                                       Local information source   Local information source




                         Note: WAIS information sources do not require indexing by AppleSearch.

                         When you index an information source, AppleSearch finds every significant
                         word in every document contained in the source. Stopwords, such as articles
                         (a, the, and so forth) and prepositions (in, of, and so forth), are ignored.
                         Through a process called stemming, AppleSearch derives root words from
                         those words that remain and makes a list (an index) of all the search root words
                         in the particular information source. An information search finds each root word
                         and other possible words that can be formed from the root, as shown in the
                         following illustration.




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How AppleSearch indexes a document
                                  ~-------



Original document to be
indexed,                             By the middle of the last century, banking, railroads, and the insurance
                                     industry became known as part of the industrial revolution, Many Victorians.
                                     however, endured bitter hardships in sweltering industries.


Stopwords are identified. (Here
they are marked by color.)           By the middle of the last century, banking, railroads, and the insurance
                                     industry became known as part of the industrial revolution. Many Victorians,
                                     however, endured bitter hardships in sweltering industries.



Stopwords are ignored.
Roots are extracted from the         middle last century. banking, railroads, insurance industry became known part
remaining words, sorted, and         industrial revolution. Victorians. endured bitter hardships sweltering
added to the index,                  industries.




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                                                                 'I           - ---1--- - AppleSearch mdexes
                                                                              -



                                                                                          the root word once but
                                                                 '==~=~=="....!i_         references multiple
                                                                                          occurrences of it.
                                   Original words                 Root


                          The index is used by AppleSearch for word matching and for measuring
                          relevancy. However, because the index references the original document,
                          AppleSearch users are able to view the full text of the original, or copy the entire
                          formatted original document, which may include graphics, to their own disk.
                          To ensure that users always have access to the latest information, you need to
                          update the index periodically, depending on how often the files in the related
                          information source change. While indexing an information source,
                          AppleSearch scans every document but indexes only new or modified
                          information (and removes information for documents that have been deleted).
                          This action confirms that the contents of the index cun'ently match the
                          contents of the corresponding information source.




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                                                                                                                   I
                        Depending on the amount of the infonnation that's being added or changed,
                        indexing may take a while. Information sources on a hard disk are indexed at an
                        average rate of 10 to 20 MB per hour. Indexing speed also varies depending on
                        the performance capability of the server and the kind of documents you are
                        indexing. For example, plain-text documents are indexed much more quickly
                        than those that contain formatted text or graphics.

                        AppleSearch indexes only those files for which it finds a corresponding
                        XTND translator. If a corresponding translator cannot be found, AppleSearch
                        displays a message to that effect in the AppleSearch log. (See "Using the
                        Server Log," later in this chapter.)
                        You can start the indexing process immediately or schedule indexing to be
                        performed at specified times. While indexing is taking place, the speed of
                        information search and retrieval is significantly slowed. You should weigh the
                        benefit of having new information immediately available against the cost of
                        reduced server performance. If the availability of new information can wait
                        until the next scheduled indexing, you may want to avoid immediate indexing.

                        Starting the indexing process immediately
                        You may want to start immediate indexing when you add a new information
                        source or when you significantly change the contents of an often-used existing
                        information source.

                        To start immediate indexing of an information source:

                        Select the information source in the list on the right side of the Information Sources
                        window.
                        To select a range of adjacent sources, hold down the Shift key while you dick
                        the source name at the beginning of the range and the source name at the end
                        of the range. To select multiple sources one at a time, hold down the
                        Command key while you click all of the names.




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     The Index button becomes active.

                                            Information Sources

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     If you select only one source, statistical data on the selected information
     source appears at the bottom of the window.
     • Nmne tells you the name of the specified information source.
     • Kind tells you whether the information source is a local or WAIS
        information source.
     • Text Size tells you the size, in kilobytes, of the plain text contained in the
        specified information source. The number of documents indexed by
        AppleSearch is also listed.
     • Last Updated specifies the date and time at which the index was last updated.

 2   Click the Index button.
     In the lower-right corner of the window, AppleSearch displays a message
     telling you that it is indexing the information source. The speed of information
     search and retrieval will be reduced while indexing is taking place.




                                                                   Administering AppleSearch information sources   33




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                       Moving an index from a preQindexed CDQROM to a hard disk
                       If you're using a pre-indexed CD-ROM as an infonnation source, you can
                       significantly improve searching speed by copying its index to a hard disk.
                       Note.' AppleSearch does not recognize a new index created for an existing
                       information source. You should copy the index from the CD-ROM to the hard
                       disk before adding the information source. If you have already added an item
                       from the CD-ROM as an information source, remove it by selecting its name
                       in the list at the right side of the Information Sources window and clicking the
                       Remove button.

                       To copy the index from the CD-ROM to a hard disk:

                       Mount the pre·indexed CD-ROM on your server desktop according to the directions that
                       came with your CD-ROM drive.

                   2   Create a new folder called AppleSearch Indexes (if one doesn't already exist) at the root
                       level of the volume to which you want to move the index.
                       Note: Do not change the name of the AppleSearch Indexes folder. AppleSearch
                       Server looks for a folder that is specifically named AppleSearch Indexes.

                   3   Open the CD·ROM and its AppleSearch Indexes folder.

                   4   Locate the information source index that you want to move.
                       The index consists of three files. Each file has the same name as its
                       information source, plus the suffix .de}; .pls. or .sif.

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                             .~                    SK    dDGUn1>?nt       S4t, Ma'J18"0
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                   5   Copy the three index files from the CD·ROM to the destination AppleSearch Indexes folder.
                       The index for the information source now resides on both the CD-ROM and
                       the hard disk.




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6    Open the Information Sources window by choosing Information Sources from the
     Server menu.

7    In the list in the left side of the window, select the name of the information source on the
     CD·ROM.

8    Click the Add button.
     An alert box appears, allowing you to specify a volume for the index.




                        [    Cancel   )   n 1iKJ]

9    Click the pop-up triangle beside the volume name and use the directory list to select the
     hard disk that contains the newly copied index.
     An underlined volume name indicates that an index for the selected
     information source exists on that volume. If you select an underlined volume
     name, a message to that effeet also appears. Two underlined volume names
     appear, because the index exists in both places. Be sure to select the name that
     represents the hard disk and not the CD-ROM.

10   Click OK.
     The server now uses the index at the new location instead of the one on the
     CD-ROM.


     Moving an index from one hard disk to another
     You can move the index of an information source from one hard-disk volume to
     another if, for example, storage space on the current volume is becoming limited.

     To move an AppleSearch index to another volume:

     Quit AppleSearch Server.
     In a later step, you'll delete a set of index files. You cannot delete index files
     when the server application is running.




                                              Administering AppleSearch information sources    35




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                    2 Create a new folder called AppleSearch Indexes (if one does not already exist) at the root
                      level of the volume to which you want to move the index.
                        Note: Do not change the name of the AppleSearch Indexes folder. AppleSearch
                        Server looks for a folder that is specifically named AppleSearch Indexes.

                    3 Open the original AppleSearch Indexes folder at the location you specified when you
                      first added the information source.

                    4 Locate the index of the information source that you want to move.
                        The index consists of three files. Each file has the same name as its
                        information source, plus the suffix .de!. .pis, or .SI/.

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                    5 Copy the three index files from the source volume to the destination volume.

                    6 Delete the older set of index files from the source volume by dragging their icons to the
                      Trash and emptying the Trash.

                    7 Restart AppleSearch Server.
                        A dialog box asks you to locate the new index files.


                               Where is "literature.pls"?

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8   Use the directory list in the pop-up menu to find the destination AppleSearch Indexes
    folder and open it.
    The name of the index file (with the .pTs suffix) that you moved earlier should
    appear in the directory.


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9   Select the name of the index file; then click the Open button.
    Even though you moved three files, only the .pTs file appears. AppleSearch
    Server starts and uses the index in its new location.

    Compacting an index
    Compacting the index of an information source reorganizes the contents of the
    index file so that data is stored in the most efficient manner possible. As a
    result of reorganizing the file, the index also occupies less disk space.
    AppleSearch automatically compacts an index when that index becomes twice
    the size of its information source. If disk space is at a premium, you may want
    to compact an index before it grows that large, especially if you expect the
    cOlTesponding information source to remain unchanged for a while.
    Note: You cannot compact indexes for WAIS information sources or
    CD-ROM-based information sources.




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                         To compact an index:

                         Select the name of the information source whose index you want to compact from the
                         list at the right side of the Information Sources window.
                         You can compact indexes for multiple information sources at the same time.
                         To select a range of adjacent sources, hold down the Shift key while you click
                         the source name at the beginning of the range and the source name at the end
                         of the range. To select multiple sources one at a time, hold down the
                         Command key while you click all of the names.
                    2    Click the Compact button.
                         A message appears, to let you know that AppleSearch is compacting the
                         specified index.

                         When you're finished compacting indexes, you can close the Information
                         Sources window.

                         Hiding and showing an information source
                         To make an information source temporarily unavailable to AppleSearch
                         clients, you can "hide" it from users. When you hide an information source,
                         you prevent searches from being petformed on it; however, its contents can
                         still be modified and indexed.
                         By "showing" the hidden information source, you make it available once again
                         for information search and retrieval.

                        The AppleSearch client software checks the server every five minutes for the
                        list of currently available information sources. If you hide an information
                        source after an AppleSearch user has already added it, the user will receive a
                        message that the information source is no longer available for searching, but
                        the source will still appear in the user's Information Sources window for up to
                        five minutes.




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         To hide an infonuation source:

         Open the Information Sources window.

     2   From the list at the right side of the Information Sources window, select the name of the
         information source that you want to hide.

     3   Click the Hide button.
         The information source icon becomes dimmed to indicate that the source is
         cunently unavailable. Users of AppleSearch clients will be unable to see it in
         their list of available information sources. However, you can still index the
         hidden information source to allow searches of new or modified documents.
     4   To make the information source available for searching again, select its name and click
         the Show button.
         The icon of the information source becomes active to indicate that the source
         is available for searching, and authorized AppleSearch users can see the
         information source again. You can select only one information source at a time
         for the Show operation.

         Removing information sources
         To make an information source permanently inactive, you can remove it from
         the list of available information sources. When you remove an information
         source, AppleSearch automatically deletes its index.
         Note: This action only removes the designation of the shared item as an
         information source and deletes its associated index files. The original folder or
         volume and the original source documents it contains are unaffected.

         To remove an information source:
         Open the Information Sources window.

     2   From the list at the right side of the Information Sources window, select the name of the
         information source that you want to remove.
         The Add button changes to Remove.




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                         You can remove multiple information sources at the same time. To select a
                         range of adjacent sources, hold down the Shift key while you click the source
                         name at the beginning of the range and the source name at the end of the
                         range. To select multiple sources one at a time, hold down the Command key
                         while you click all of the names.

                     3   Click the Remove button.
                         An alelt box similar to this one appears, asking you to confirm that you want
                         to remove the information source.

                                    AI'e you sure you want to delete the indeH for
                                    the information source Business news?

                                                          ,_ _-, K          OK       D


                     4   Click the OK button.
                         The names of the sources are removed from the Information Sources window,
                         and their indexes are deleted.
                         Note: If you want to temporarily prohibit access to an information source, you
                         can hide it instead of removing it. Hiding an information source does not
                         delete its index. See "Hiding and Showing an Information Source," earlier in
                         this chapter.


    Setting preferences
                         By setting preferences in the Server Preferences window, you can schedule
                         automatic indexing and scanning for WAIS servers, designate a location for the
                         storage of temporary files associated with indexing, and set an optional
                         password required for server administration.

                         Specifying indexing times
                         For AppleSearch reporters to have acce~s to new or changed information in
                         your local information sources, the indexes for those sources must be updated.
                         This requirement applies to both immediate and scheduled searches on local




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     information sources. AppleSearch Server will index your information sources
     on a scheduled basis on the days of the week and at the times you specify. It is
     recommended that you schedule indexing to occur automatically during times
     of low search-and-retrieval usage.

     For AppleSearch to automatically update indexes, you must specify at least one
     day of the week and one time of day you want scheduled indexing to occur.

     To specify indexing times:
     Choose Preferences from the Server menu.
     The Server Preferences window opens.

     __    ~    - = Semel' Preferences




       Store temporary files on:




 2   To select the days of the week, click the boxes corresponding to those days.

 3   To set the time of day, click along the timeline to place markers over the hours at which
     you want indexing to take place.
     The shortest interval allowed between indexing procedures is one hour.
     To deselect a day, click the highlighted box that corresponds to it. To deselect
     a time, click on the cOlTesponding arrow-shaped marker. To clear all day and
     time settings, click the Clear All button.




                                                                      Setting preferences    41

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                        Specifying times to scan for WAIS servers
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                                                                                                                      I
                                                                                                                      I
                        The availability of any WAIS server at any time is unpredictable. To ensure
                        that your list of available WAIS databases is as current as possible, it is
                        recommended that you schedule AppleSearch to scan the Internet for new
                        servers periodically. For AppleSearch to automatically scan for new WAIS
                        servers, you must specify at least one day of the week on which you want
                        scanning to occur.

                        To specify times to scan for WAIS databases:

                        Choose Preferences from the Server menu.
                        The Server Preferences window opens.

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                             Update all indexes:




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                           o Alwags require passworf.it
                                                                     OK    D


                    2   To select the days of the week, click the boxes corresponding to those days.

                    3   To change the time, first click the portion of the time (hours, minutes, or AM/PM) that you
                        want to change; then type a new value or use the arrows to adjust the value up or down.
                        The arrows appear only if part of the time is selected. The default time is
                        12:00 A.M.




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            Specifying a location for temporary file storage
            Temporary files are used to mark the location on the disk that will be occupied by
            the word entries of the index. These files are automatically deleted after the
            permanent index file is created. The default location for these files is the
            startup volume. To avoid running out of storage space, be sure that you select
            a location that has available disk space equal to approximately 1.5 times the
            size of the information source.

            To specify a location for temporary file storage:
            Choose Preferences from the Server menu.
            The Server Preferences window opens.

                                     Server Preferences
                Update .all indE'xes:




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        2   Specify the folder or volume where you want the temporary files to be stored.
            Use the "Store temporary files on" pop-up menu. If you specify a volume
            other than the default volume, the change will not take effect until
            AppleSearch Server is restarted.




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                                                                            Setting preferences   43




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                        Setting a password
                        You can require that server administrators enter a password before they can
                        open the Reporter List, Information Sources, and Server Preferences windows.

                        To set a password:
                        Choose Preferences from the Server menu.
                        The Server Preferences window opens.

                                                   Seruer Preferences       ==




                           Store tempor;)rt,;t files 'I-n:


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                   2    Click the Set Password button.
                        The following dialog box appears.




                   3    Type a password in the "New password" text box.
                        A dot (.) appears in the box for each text character that you type.




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                     4   Type the password again in the "Confirm new" text box.

                     5   Click OK.
                         You can also use this dialog box to change an existing password.
                         The password goes into effect only after you select the "Always require
                         password" checkbox in the Server Preferences window.
                     6   To activate the password, select the" Always require password" checkbox in the Server
                         Preferences window.
                         Once the password is activated, server administrators will be asked to supply
                         the password when they attempt to open the Reporter List, Information
                         Sources, or Preferences windows. If one of these windows is open, the
                         administrator can open the others without being asked for the password a
                         second timc.
                         If you leave the checkbox unselected, anyone can access server administration
                         windows without being asked for the password.


        Using the server log
                         The AppleSearch server log helps you monitor AppleSearch activities by
                         recording AppleSearch transactions. By reviewing the different messages,
                         you can identify the source of a problem that occurs, and learn about other
                         server activity.
                         To display the AppleSearch Log window, choose Server Log from the
                         Server menu.


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                        AppleSearch Server displays up to the last 32K of status information-roughly
                        500 messages. To retain a record of this log, you can use the familiar
                        Macintosh editing commands to copy new information and paste it into a file
                        that you can maintain with another application program.

                        The remainder of this section lists the log messages in alphabetical order and
                        explains what each message means. Italics indicate terms that vary, as follows:
                        • document-name: the name of a document within an information source
                        • source-name: the name of an information source
                        • volume-name: the name of a disk or partition
                        • x or y: a numerical value

                        Added information source source-name; index on volume-name.
                        Confirms the day and time that the specified information source was added,
                        and identifies the volume on whieh its index is stored.
                        Added information source source-name with existing index on volume-name.
                        Confirms that the specified information source was added, using an existing
                        index, and identifies the volume on which its index is stored. For example, this
                        message is generated when you add an information source whose index was
                        copied from a pre-indexed CD-ROM to a hard disk.
                        Added WAIS information source source·name.
                        Notes the day and time that the specified WAIS information source was added.
                        Added x documents with y K of text.
                        Tells you the number (x) of documents and the corresponding total size in
                        kilobytes (y) of plain text in documents that were added as a result of the last
                        indexing operation on an information source.
                        AppleShare is not running.
                        Informs you that AppleShare File Server or Macintosh file sharing needs to be
                        started in order for users to search and view information.




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    Client request failed. Not enough disk space on startup disk.
    The client attempted to save a repOlter and there's not enough space on the
    server's startup disk to do so.
    Closed information source source-name.
    Notes the day and time that the index for the specified information source was
    closed.
    Compacting source-name failed. Not enough disk space?
    The compacting process failed, probably because there was not enough space
    on the disk to petform the process.
    Compaction for source-name cancelled.
    AppleSearch did not complete the compacting process because the
    AppleSearch Server program itself was quit.
    Compaction for source-name completed; y K saved.
    Confirms that the compacting process for the information source was
    successfully completed, freeing y kilobytes of disk space.
    Connected to the WAIS Gateway.
    Indicates when AppleSearch Server successfully launched the WAIS Gateway
    and established communication with it.
    Could not connect to the WAIS Gateway. Make sure MacTCP is installed.
    Informs you that the AppleSearch Server program could not communicate
    with WAIS Gateway program.
    Could not find index for source-name.
    Indicates that AppleSearch was unable to locate the index for the specified
    infOlmation source. This message is generated because the Cancel button was
    clicked in response to the message "Where is indexfile.pls'?"
    Could not find source-name on volume volume-name.
    Indicates that the information source no longer exists on the specified volume.
    This message appears only when the server is started up.




                                                                    Using the server log   47




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                         Could not open source-name (not enough memory).
                         Indicates that the AppleSearch Server program does not have enough memory
                         to open the specified information source. The program has a default of 3500K
                         allocated to it, which is sufficient to support ten or fewer information sources.
                         The program requires lOOK for each additional information source. To allocate
                         more memory to the program, select the AppleSearch Server icon in the Finder
                         and choose Get Info from the File menu. In the PrefelTed Size box, enter the
                         value that meets your needs.
                         Could not start the WAIS Gateway.
                         App1eSearch was unable to start the WAIS Gateway. The cause is
                         undetermined (except that it is not a memory problem).
                         Could not start the WAIS Gateway. Could not find MacTCP.
                         The MacTCP and MacTCP Admin control panels were not found in the
                         Control Panels folder in the System Folder.
                         Could not start the WAIS Gateway. Wrong version of MacTCP (2.0.4 or later required with
                         Macintosh OS).
                         To use the WAIS Gateway feature with the Macintosh Operating System,
                         AppleSearch requires MacTCP version 2.0.4 or later.
                         Couldn't find "AppleSearch WAIS Gateway" file in the AppleSearch Preferences folder.
                         Informs you that the AppleSearch WAIS Gateway file is not in its required
                         location, the AppleSearch folder in the Preferences folder (inside the
                         System Folder).
                         Did automatic compaction on source-name.
                         Informs you that the AppleSearch program automatically compacted the index
                         of the specified information source. Automatic compaction takes place when
                         the size of the index becomes twice that of the text in the cOlTesponding
                         information source.
                         document-name could not be indexed (unknown problem).
                         The document could not be indexed; AppleSearch could not determine the
                         reason.




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    document-name could not be indexed. No XTND translator.
    Informs you that a specified document could not be indexed because the
    XTND translator for that particular document format could not be found.

    document-name could not be indexed. The file could not be found.
    Indicates that the specified document could not be indexed because it could
    not be recognized by AppleSearch. In many cases this message is generated
    because the document was deleted.

    document-name could not be indexed. The file name starts with a"." .
    Indicates that the specified document could not be indexed because its name
    begins with a period (.). AppleSearch qoes not index a file whose name begins
    with a period.
    document-name could not be indexed. The file was in use.
    Indicates that the specified document could not be indexed because it was in
    use. Possibly someone was modifying the document in some way at the time that
    you were trying to index it.
    Failed to get database list from WAIS Gateway.
    AppleSearch did not get a list of available WAIS servers from the WAIS
    Gateway, and no previous list exists. This message is most likely to be
    generated if, the first time AppleSearch Server is started, the scan for WAIS
    servers fails. Probably the WAIS Gateway cannot communicate with the
    Internet at this time. Try again later.
    File sharing is not enabled.
    Informs you that you need to activate file sharing so that users can search for
    and view information. Open the Sharing Setup control panel and click the Start
    button under File Sharing.
    Hiding information source source-name.
    Confirms the day and time that the specified information source was hidden.
    Indexing failed. Encountered problem reading document-name.
    Indicates that the specified document could not be indexed because the
    document was damaged. You may want to consider removing the document to
    avoid further occun'ences of this message.




                                                                  Using the server log   49




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                         Indexing failed. Not enough disk space?
                         Indicates that an information source could not be indexed, possibly because of
                         insufficient disk space needed for temporary and permanent index files. Try
                         adding the information source again, specifying a different volume-one that
                         has free disk space about 2.5 times the size of the information source - for the
                         storage of index files.
                         Indexing for source-name cancelled.
                         Confirms that indexing for the specified information source has been cancelled
                         successfully.
                         Lost contact with the WAIS Gateway.
                         Notes the day and time that AppleSearch Server determined that it could no
                         longer communicate with the WAIS Gateway program, probably because the
                         Gateway's operation has terminated because of a problem. Restart your
                         AppleSearch Server program.
                         Making information source source-name visible.
                         Notes the day and time that the specified information source, once hidden, was
                         made visible again with the Show command.
                         No documents added.
                         Notes that, during the last indexing operation, no documents were added to the
                         information source.
                         No WAIS databases found by WAIS Gateway.
                        Indicates that the WAIS Gateway program was unable to locate any WAIS
                        databases.
                         Not enough memory to start the WAIS Gateway.
                         Not enough memory was available to start the WAIS Gateway program. (The
                         program needs about 1 MB.) Try quitting open applications to free up more
                         memory; then quit and restart AppleSearch Server.
                         Opened source-name.
                         Notes the day and time that the information source was opened.




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   Opened source-name; index on volume-name.
   Notes the day and time that the information source was opened and the volume
   name on which its index resides.
   Program linking is not enabled.
   Informs you that you need to activate program linking so that users can search
   for and view information. To activate program linking on the server, open the
   Sharing Setup control panel and click the Start button under Program Linking.
   To grant program-linking access to users, open the Users and Groups control
   panel; then open each user and group icon and click the checkbox under
   Program Linking.
   Removed index for source-name.
   Confirms the day and time that the index for the information source was
   removed.
   Removed WAIS information source source-name.
   Notes the day and time that the specified WArS infOlmation source was removed.
   Removed x documents with y K of text.
   Informs you that a number (x) of references to documents containing a
   specified number of kilobytes (y) of plain text were removed from a particular
   information souree. These documents were indexed earlier, but they no longer
   exist in the information source.
   Scan for WAIS databases completed.
   Notes that the WAIS Gateway program has completed its scan on the Internet
   for WAIS databases.
   Scan for WAIS databases failed.
   Notes that the scan on the Internet for WAIS databases failed.
   Server shut down.
   Notes the day and time that AppleSearch Server was quit.




                                                            Using the server log   51




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                       Server started.
                       Notes the day and time that the AppleSearch Server program was started.

                       Session for user-name unexpectedly disconnected.
                       Informs you that a user's session was disconnected. The most common
                       reasons this message is generated are the client application suddenly quitting
                       or a network problem occurring.

                       Started automatic indexing.
                       Notes the day and time that indexing started.
                       Started indexing for source-name.
                       Confirms that immediate indexing for the specified information source (x) has
                       commenced successfully.

                       Started scan for WAIS databases.
                       Confirms that the WAIS Gateway program has begun its scan of the Internet
                       for WAIS databases.

                       Started scanning source-name for changes.
                       Informs you that the server software is checking its information about the
                       information source for any changes since the last indexing procedure was
                       performed.

                       Started scanning source-name for files to index.
                       Notes that AppleSearch has started to scan the documents of the specified
                       information source for indexing.

                       Starting compaction for source-name.
                       Notes the day and time that compaction of the index files for the specified
                       information source started.
                       Tep error x in communicating with WAIS information source" source-name".
                       The WAIS Gateway encountered a communications elTor in attempting to
                       communicate with the WAIS server for the specified information source.




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   The index for source-name is damaged. To recover, remove source-name, then add and
   index it again.
   The index for the specified infonnation source has been damaged. Delete the
   name of the information source from the list in the Infonnation Sources
   window; then add the name of the folder or volume back to the list of
   infonnation sources, and try indexing again.

   Updated x documents.
   Indicates that a number (x) of new or modified documents were indexed as a
   result of the last indexing operation on that information source.
   WAIS Gateway launched.
   Notes the day and time that the WAIS Gateway program started running.
   WAIS Gateway reset completed.
   Notes when a scan for WAIS servers was completed.
   WAIS Gateway shut down.
   Notes the day and time that AppleSearch Server shut down the WAIS
   Gateway program.
   WAIS information source source-name has had x failures since startup.
   Specifies the number of unsuccessful operations attempted on the specified
   infonnation source since AppleSearch Server was last started. You should
   consider removing remote information sources with large numbers of failures.
   WAIS information source "source-name" unavailable.
   The WAIS server informed AppleSearch that the WAIS database was
   unavailable.
   WAIS information source "source-name" violated protocol.
   The WAIS server for the specified information source did not follow WAIS
   rules in communicating with the WAIS Gateway program.
   x information sources available from WAIS Gateway.
   Indicates the number (x) of WAIS databases that the WAIS Gateway has
   reported to AppleSearch Server as available to be added as infonnation sources.




                                                Using the AppleSearch Status window   53




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  Using the Reporter list
                       The Reporter List window displays information about reporter activity. The
                       window can help you monitor server usage and the number of connected users.
                       It can also help you determine when to index information sources or when to
                       upgrade the performance of your server.

                       Up to 50 users can conduct information searches at the same time; however,
                       each of those 50 users can create and use an unlimited number of reporters.

                       To display information about AppleSearch activity, choose Reporter List from
                       the Server menu.

                       lsi                                 Reporter Ust
                              Name                                 Ti roe:   bs:t Del ive red




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                                               KIJmdt"               4Sec    non, AUt] 2, 1993,7:00 At"l
                                               Ph:rr~                        Ijl)scheduled
                                               8Batrlce                      unscheduled
                                               Ch<'Jrles                     unscheduled
                                               Th'lmas                       U fiSC hedlJl elj

                                               Hf"rm'lfi           10Sec     Tue,Aug 3~ 1993~ 5:00At1
                                               ,JQ~ef              11 Set    Thu .. AU'J 5~ 19~L3) 6:00 Pf~l
                                               Chrh                          Ijfl:sehedulerl
                                               rat                           never dellvered
                                               Gertrude                      unscheduled




                       ¢I


                       • The Name column lists in alphabetical order the name of each saved reporter
                         that currently resides on the AppleSearch server. A notepad icon indicates a
                         reporter established to perform immediate infonuation searches only. An
                         icon showing a notepad and stopwatch indicates a scheduled reporter.
                             Although the reporter name can be whatever the user chooses, its name
                             generally indicates the kind of information it's intended to retrieve. As a
                             result, if your reporter list indicates many reporters with similar names, it
                             may be an indication that many users are searching for the same kind of
                             information. In that case, you may want to suggest that one of the users
                             export a reporter so that it's available for others to share.




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     If you see the name of the same reporter working for many different users,
     it may indicate that a reporter is already widely shared by a workgroup. You
     may want to confirm that the information sources it uses are frequently
     indexed so that it always has access to the most recent information.
   • The User column lists the names of the users who created the repOliers. Click
     the User column title to sort the user names alphabetically.
     Because only registered users can schedule and save reporters, you know at
     a glance that all users named in this list are registered users.
     If you see that only a few users own the majority of the reporters, you may
     discover that only a few users are aware of the benefits of AppleSearch or
     understand how to use their client software. You may want to question other
     registered users to find out why they're not using AppleSearch with the same
     frequency as the few whose names appear in the reporter list.
   • The Time column indicates how much time the scheduled reporter took to
     generate an update. Click the Time column title to sort the content of the
     column by duration.
     If the reporter is taking an excessively long time to generate an update (for
     example, more than a few minutes), the reporter may be conducting a
     search that is too general. This type of search takes a long time and
     consequently so does generating the update. In this case, you may want to
     refer the user to the AppleSearch User's Guide for help phrasing a selective
     search request that yields more precise results.
     Two dash marks (- -) in the Time column indicate reporters that do not
     produce updates, which may signify that the user hasn't discovered the
     benefit of scheduling a reporter to deliver periodic updates on the user's
     topic. You may want to invite the user to schedule his or her reporters, if
     that user would benefit from receiving periodic updates.
   • The Last Delivered column lists the date on which an update was last
     delivered by each reporter. If a repOtier is not scheduled to publish an update,
     then the word unscheduled appears in this column. Click the Last Delivered
     column title to sort the delivery date and time according to which update is
     more recent.




                                                            Using the Reporter List   57




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                           If the Last Delivered date is old or doesn't change after a week or so, this
                           indicates that the user is not remaining connected to the server during
                           information searching and update delivery times. In this case, you may want
                           to encourage the user to delete scheduled reporters that are no longer needed.
                           To make the most efficient use of the server's processing power, use the
                           Reporter List window to identify when most reporters are publishing updates.
                           Then, schedule indexing of the information sources at a time prior to when
                           users schedule the delivery of their updates. By indexing during a less busy
                           time, you avoid compromising the server's performance during searches.
                           In addition, by indexing at a time prior to when most users schedule
                           updates, you allow users to receive their updates at the next scheduled time.
                           Updates from local information sources can be generated only at the
                           scheduled delivery time that immediately follows indexing. Delivery times
                           of updates from WAIS information sources are determined by the schedules
                           that users have established for their reporters; they are not dependent on the
                           AppleSearch Server indexing schedule.



   Working with the AppieSearch stopworas list
                        While creating an index for a local information source, AppleSearch filters out
                        certain nondistinctive words such as articles (for example: the, an, a) and
                        prepositions (for example: with, of, on). Such words are called stopwords.
                        They are specified in the AppleSearch stopwords list maintained in the
                        AppleSearch Stopwords file, found in the AppleSearch folder in the
                        Preferences folder of the System Folder. You can modify the contents of the
                        stopwords list to add or delete specific stopwords.
                        Note: Unless you have very special needs, you should not modify the
                        AppleSearch Stopwords file. The file conforms to established conventions for
                        standard information search-and-retrieval systems. You must keep the words
                        in alphabetical order for the stopwords list to perform properly.

                        The stopwords list affects only searches on local information sources because
                        AppleSearch does not index WAIS infomlation sources.




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            If you modify the stopwords list, you should delete the indexes that use the old
            stopwords list and then re-index all the corresponding information sources.
            AppleSearch refers to the existing indexes to recognize new or modified
            documents. Unless you delete the old indexes and re-index all information
            sources, your new stopwords list is applied only to newly indexed documents.
            By deleting the old indexes and re-indexing all infonnation sources, you create
            new index files that allow AppleSearch users to obtain new results.

            To modify the stopwords list:
            Quit AppleSearch Server by choosing Quit from the File menu.

        2   Open the AppleSearch folder within the Preferences folder of the System Folder.

        3   Open the AppleSearch Stopwords file.
            You may need to open a word-processing application first and then open the
            AppleSearch Stopwords file from within the word-processing application.
        4   Add words to the list or remove them as needed. You can also modify existing stopwords.
            The way you add, remove, or modify words depends on the application you
            used to open the stopwords file. As you adjust the stopwords list, make sure
            that you keep the word list in alphabetical order.

        5   Save the stop words list as a text-only file, but do not change its name.
            The AppleSearch Stopwords file is a text-only file with a specific name and
            must be saved as such. If you open the AppleSearch Stopwords file within a
            word-processing application, you must save it as a text-only file.

        6   Restart AppleSearch Server.



    AppleSearch Server
            At times, you may need to quit AppleSearch Server. For example, you may
            need to modify the stopwords list or add a new peripheral device.
            You may want to alert AppleSearch Client users, an hour or so before quitting
            AppleSearch Server, that the AppleSearch server will soon be unavailable.
            You may also want to tell the users when they ean expect the server to be
            available again.




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                                                                      Quitting AppleSearch Server




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                                                                                                          I
                         To quit AppleSearch Server:

                    mI   Choose Quit from the File menu.
                         If any pending requests exist, AppleSearch Server displays the following alert
                         box while those requests are being processed.

                                  AppleSearch SerlJer Shutdown status   ---I
                                  Processing remaining requests before
                                  shutdown ...

                                                                [QUit NOW)




                         After all pending searches are completed, the users are automatically
                         disconnected from the server, and AppleSearch Client displays a message that
                         informs its users that the server has been shut down.




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Appendix A AppleSearch Server Software and Files



            This appendix lists changes made to the AppleSearch server software since
            version 1.0.1 and describes the items installed by the AppleSearch Server
            installation process.




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    Changes to AppieSearch server software
                         Notable changes as of AppleSearch Server 1.1 are as follows.
                         • WAfS information sources: The WAIS Gateway feature provides access to
                            WAIS databases on the Internet. Version 1.1 of AppleSearch presents WAIS
                            databases to users as AppleSearch information sources.
                         • Sofnvare compatibility: AppleSearch 1.0 and 1.0.1 cannot process WAIS
                            information sources. Consequently, these versions are not compatible with
                            l.l and later releases; that is, AppleSearch client software earlier than 1.1
                            cannot use servers running AppleSearch 1.1 and later versions, and servers
                            running AppleSearch 1.0 or 1.0.1 do not recognize version 1.1 and later
                            versions of AppleSearch client software. Note, however, that existing
                            information sources and their indexes can be used without change.
                         • Power Macintosh support: AppleSearch runs on Power Macintosh
                            computers in emulation mode.
                         Note: Version 1.0 of the AppleSearch Client program spl its documents larger
                         than 32K bytes into sections of 8K each when displaying articles. This
                         limitation no longer exists.



   AppleSearch server files
                         Aside from the files that are automatically installed in the AppleSearch Server
                         folder, all files are installed at some level within the System Folder. On the
                         Macintosh Operating System, the System Folder should be at the root level of the
                         startup volume. On A1UX, the main System Folder is in the directory /mac / sys .

                       . AppleSearch Server folder
                         The AppleSearch Server folder resides on the volume you specify during the
                         installation process. This folder contains the AppleSearch Server application,
                         the Read Me file, and the SimpleText application that lets you view the Read
                         Me file.

                         MacLinkPlus/AppleSearch
                         The MacLinkPluslAppleSearch file resides in the Claris Translators folder
                         inside your Claris folder. Your Claris folder in turn resides inside the System




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   Folder. The MacLink Plus/ AppleSearch file identifies the correct XTND
   translator for a particular document format and helps the translator extract
   plain text from the document.

    Claris XTND System file
   The Claris XTND System file resides in the Claris Translators folder inside
   your Claris folder. Your Claris folder in tum resides inside the System Folder.

    AppleSearch Preferences folder
   An AppleSearch folder resides in the Preferences folder inside the System
   Folder. The AppleSearch folder contains the following files:
   • AppleSearch Defaults
   • AppleSearch Server Help
   • AppleSearch Stopwords
      The App1eSearch Stopwords file is a text file of nondistinctive words that
      AppleSearch ignores during indexing and searching, as described in Chapter 2.
   • WAIS Data
     The WAIS Data file contains the addresses of WAIS servers found by
     scans of the Internet. This file is maintained by the AppleSearch WAIS
     Gateway program.
   • WAIS Directory Servers
      The WAIS Directory Servers file contains the Internet addresses of two or
      more well-known WAIS directory servers used by AppleSearch to locate
      WAIS servers during its scans of the Internet. You can add addresses of
      other WAIS directory servers to this file with SimpleText or another text
      editor. The file must be saved as type TEXT' . This file contains one
                                             I


      directory server entry per line. of the format
      port-number@domain
      where port-number represents the WAIS port number of the WAIS server
      application and domain-name is the Internet domain name of the server.
      Here is an example:
      21O@wais.com




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                         • WAIS Custom Databases file
                            The WAIS Custom Databases file allows you to maintain your own list of
                            addresses for WAIS databases that may, for example, not be available to the
                            general public. You can edit this file with SimpleText or another text editor.
                            The file must be saved as type 'TEXT' , The file contains one database
                            domain name per line, of the format
                            database:port-number@domain-name
                            where database represents the name of the WAIS database, port-number
                            represents the WAIS port number (210, customarily) of the WAIS server
                            application, and domain-name is the Internet domain name of the server.
                            Here is an example:
                            Recipes :21 O@cheshire ,dartmouth ,edu
                         • WAIS Gateway
                           If you did not explicitly omit the WAIS Gateway by using the Custom Install
                           option, this file resides in the AppleSearch folder inside the Preferences folder
                           (inside the System Folder). The WAIS Gateway program provides all
                           Internet services to the AppleSearch server.
                         • MacLinkPlus/AppleSearch Trans1
                            The MacLinkPluslAppleSearch Trans I file is located in the AppleSearch
                            folder in the Preferences folder (inside the System Folder). The
                            MacLinkPlusl AppleSearch Trans 1 file contains a basic set of XTND
                            translators used for extracting the plain text from document formats,
                            AppleSearch Server can extract the plain text from nearly any document
                            format as long as an XTND translator is present for that particular format
                            (MacLinkPlusl AppleSearch is a product of DataViz, Inc.)
                            The following list tells you the document formats that are supported by the
                            XTND translators contained in MacLinkPlusl AppleSearch Trans 1 file,
                            -MacWrite versions 4.5, 5.0, and II
                            - WordPerfect for Macintosh versions 1.0, 2,0, and 2.1
                            -Microsoft Word for Macintosh versions 3.0,4.0,5.0, and 5.1
                            -Microsoft Works (word processing) versions 2.0 and 3.0
                            - FrameMaker MIF versions 2.0 and 3.0
                            - PageMaker version 4.0
                            - Ragtime version 3.1
                            -AppleWorks®




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                                                                                             APLNDC630-0000442017
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      - WriteNow versions 2.0 and 3.0
      -Nisus version 3.0
      -preT (text extraction only)
      -Microsoft Excel (tab text only, no formula)
      - Microsoft Word for Windows versions 1.0 and 2.0
      - WordPerfect for Windows version 5.1
     XTND translators for other document formats can be purchased separately.

   When you run the AppleSeareh Server program, the following three files are
   created and placed in the AppleSearch folder:
   • AppleSearch Log
   • Client Infonnation
   • AppleSearch Preferences




                                                      AppleSearch server files   65




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Appendix 8 Troubleshooting



            This appendix describes potential problems you may encounter while setting
            up or maintaining your AppleSearch server, tells you the probable cause for
            each problem, and offers likely solutions.

            If you can read the server log, check there first for detailed status and
            troubleshooting messages. For descriptions of messages that may appear in the
            log, and suggestions for resolving the problems they indicate, see "Using the
            Server Log" in Chapter 2.

            For descriptions of and solutions for problems related to AppleSearch
            reporters and updates, see Appendix B, "Troubleshooting," in the AppleSearch
            User's Guide.




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   Problems opening the AppleSearch Server program
                        A server message indicates that the application is already running when it is not.
                        You tried to open a copy of the AppleSearch Server program when another
                        copy was already running. You cannot have two copies of AppleSearch Server
                        running on the same computer.
                        Use the copy of AppleSearch that is already running. If that does not work,
                        restart your server computer.

                        When you start AppleSearch Server, a warning message appears that reads as follows:
                        "Some system resources are not set to optimal values for the AppleSearch Server. To
                        reset the values of these resources, reinstall the server software using the AppleSearch
                        Server Installer."
                        AppleSearch modifies the PPC (Program-to-Program Communications) tuning
                        resource in the System file during the AppleSearch installation process. If you
                        have not run the AppleSearch Installer, or you installed operating system
                        software after installing AppleSearch, then the alert message appears.
                        Re-install the AppleSearch software by using the AppleSearch Installer program.

                        Users whose log-on name exceeds 30 characters are unable to log on to the
                        AppleSearch Server.
                        The PPC browser, which asks users to select an AppleSearch server, does not
                        accept more than 30 characters.
                        Change the user's log-on name so that it does not exceed 30 characters. Notify
                        the user of his or her new user ID and have the user try logging on to the
                        server again.

                        AppleSearch Server unexpectedly quits or crashes.
                        Restalt the server machine.




  68   Appendix B I Troubleshooting




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Problems using or adding information sources
               The user does not get any article matches after conducting a search on a particular
               information source.
               • The user has See Folders privileges but does not have See Files privileges.
                 If you're using AppleShare, open the Access Information window and click
                 the See Files checkbox so that a checkmark appears in it. If you're using tHe
                 sharing, select the folder that is designated as the information source; then
                 choose Sharing from the File menu to assign the correct access privileges
                 for that user.
               • There are no documents in the information source that answer the user's
                 search request.
                 Add documents to that information source that answer the user's search
                 request, direct the user to another information source that answers the user's
                 search request, or advise the user to rephrase the search request to provide
                 greater potential for article matches.
               • The local information source contains document formats for which there are
                 no eorresponding XTND translators.
                  Examine the AppleSearch server log to identify the troublesome document;
                  then refer to Appendix A to determine whether an XTND translator that
                  supports each doeument's format came with AppleSeareh. If an XTND
                  translator is not present for that particular document format, contact the
                  developer of the application, or a developer of XTND translators, to see if
                  one is available and where you might purchase it.
               • The information source has been added but not yet indexed.
                  Open the Information Sources window, select the information source
                  whose content cannot be accessed, and click the Index button; or inform
                  the user to wait and try the search again after the next scheduled indexing
                  procedure is performed.




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                                                       Problems using or adding information sources   69




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                        Searches made for or using foreign-language characters do not yield the expected results.
                        The user typed a search request using non-English characters, or searched an
                        information source that contained non-English characters. AppleSearch
                        currently supports the U.S. English character set, with some character-mapping
                        exceptions. These exceptions allow the AppleSearch Server program to
                        provide limited recognition of accented characters and double characters
                        (ligatures). Accented characters are mapped to the corresponding U.S. English
                        characters; for example, e is recognized by AppleSearch as e, so the French eleve
                        is recognized by AppleSearch as eleve; a is recognized by AppleSearch as a.
                        Double characters (ligatures) are mapped to the first character; for example, IE
                        is recognized as A.
                        Explain to users what exceptions AppleSearch allows in supporting non-English
                        characters. In some cases the user may get slightly more information than
                        requested because of the diacritical marks, but the information returned will
                        still answer the search request.

                        AppleSearch does not allow an information source to be opened.
                        The AppleSearch Server program does not have enough memory to open the
                        specified information source. The AppleSearch Server program has a default
                        value of 3500K allocated to it. The recommended memory allocation is
                        4000K, which is typically sufficient to support ten information sources. The
                        application requires lOOK for each information source beyond ten.
                        Quit AppleSearch Server by choosing Quit from the File menu. Then select the
                        AppleSearch Server program icon from the Finder and choose Get Info from
                        the File menu. In the Preferred Size box, enter the value that meets your needs.

                        An AppleSearch server does not show up in the user's "Select an AppleSearch server"
                        dialog box.
                        • Program linking is not enabled on the server.
                           Open the Sharing Setup control panel on the AppleSearch server and click
                           the Start button under Program Linking .
                        • The AppleSearch Server program is not running.
                           Start the AppleSearch Server program.




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                • The user is running a version of the AppleSearch CI'                 .
                                                                     lent program that IS t
                  compatible with the installed version of the AppleSear h S             no
                                                                        c erver program
                  Upgrade the AppleSearch Client program on the User's com t              .
                                                                             pu er.


Problems establishing information sources (sharing volumes or folders)
                The status information displayed in the Information Sources window when a Source is
                selected indicates zero to) K of text.
                • The information source has not yet been indexed.
                   Open the AppleSearch Information Sources window, select the information
                   source whose text size does not show up in the status information, and
                   click the Index button; or check the status information after the next
                   scheduled indexing time. The text of an article can be generated and
                   therefore show up in the information source status only after its
                   information source has been indexed.
                • The information source contains document formats for which there are no
                  con-esponding XTND translators.
                   Confirm that XTND translators are present in your Claris Translators folder
                   for each of the document formats present in the specified information
                   source. Open the AppleSearch folder (found in the Preferences folder inside
                   your System Folder) to confirm that it contains the
                   MacLinkPlusl AppleSearch Trans 1 file. This file contains a basic set of
                   XTND translators for many document formats. The suppolted document
                   formats are listed in Appendix A. If you have purchased other XTND
                   translators, check the documentation that came with them for a list of supported
                 . document formats. If the troublesome information source contains a document
                   format for which no XTND translator is present, you need to purchase the
                   con-esponding translator.

                The status information for a particular information source indicates 0 documents.
                • The specified information source does not contain any documents.
                   Add any documents to the information source that you want to be available
                   to AppleSearch users. Also, make sure that an XTND translator is present
                   for each document format you add to the information source.




                                Problems establishing information sources (sharing volumes or folders)   71




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                        • No XTND translator is present for any of the existing document formats in
                          the information source.
                           Check the AppleSearch server log to identify the documents that were not
                           indexed. Then purchase and install an XTND translator for each document
                           format that didn't get indexed.
                        • The MacLinkPlus/AppleSearch Trans I file is not present.
                           Open the AppleSearch folder (found in the Preferences folder inside your
                           System Folder) to confirm that it contains the MacLinkPlusl AppleSearch
                           Trans I file. If the file is absent, re-install the AppleSearch server software.



  Indexing takes a long time
                        • The corresponding information source probably contains many documents,
                          or documents containing graphics and detailed formatting instructions. For
                          each information source, indexing typically takes 10 to 20 MB per hour.
                           Choose Preferences from the Server menu and schedule indexing to occur
                           when you expect search traffic to be light.
                        • The processing power of your particular server is insufficient for the speed
                          you require.
                           Upgrade your server. For help, contact your authorized Apple dealer.
                        • An AppleSearch reporter is conducting a search at the same time that the
                          information source is being indexed. Concurrent indexing and searching
                          reduce server performance, resulting in both functions' operating at slower
                          speeds than usual.
                           Do nothing. Indexing will continue, but not as quickly as it would if no
                           searches were taking place. If a user scheduled a reporter to conduct a
                           search at the same time that you scheduled indexing, you might want to
                           check the reporter list to identify the user who scheduled the reporter.
                           Advise the user to schedule the rep0l1er to conduct searches after the
                           scheduled indexing procedure is complete.




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_.... ,... matched words in an article are not highlighted
                 Users report that when they conduct a wildcard search, only some of the matched words
                 are highlighted in the article viewing window.
                 The maximum number of distinct search words that can be highlighted has
                 been reached. Only 50 distinct search words in each information source can be
                 highlighted. However, each distinct word may appear highlighted any number
                 of times.
                 Tell the user that his or her search request found more than 50 distinct search
                 words. The user should modify the search request, avoiding the wildcard (*)
                 character so that only 50 words or fewer are available for highlighting.


Problems setting up users            groups
                 AppleSearch users cannot log on to the AppleSearch server.
                 • File sharing is not active or AppleShare is not running.
                   Activate      sharing or stat1 AppleShare. See Appendix C of this manual
                   for more information, or see the AppleShare Administrator's Guide or the
                   Macintosh User s Guide or Macintosh Reference manual that came with
                   your computer .
                 • The user name is refused.
                    Open the Users & Groups control panel or the AppleShare Admin program
                    and confirm that the names of registered users and groups are entered
                    correctly. See Appendix C of this manual for more information, or see your
                    Macintosh Users Guide, Macintosh Reference, or AppleShare
                    Administrator's Guide.
                    Activate program linking for the user. See Appendix C of this guide. For
                    more detailed information see your AppleShare Administrator s Guide or
                    the Macintosh Users Guide or Macintosh Reference that came with your
                    computer.




                                                              Problems setting up users and groups   73




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                             An AppleSearch user cannot log on to the AppleSearch server as a guest.
                             Guest access was not specified.
                             For AppleShare, open the Any User icon and click Login Enabled to activate
                             this option.
                             For Macintosh file sharing, open the Users & Groups control panel and create
                             a guest user. Open the Guest User window and click "Allow guests to
                             connect" to activate this option. In addition, click "Allow guests to link to
                             programs on this Macintosh" to activate this option.
                             Refer to Appendix C for more information.



        WAIS databases do not appear
                             • The WAIS Gateway file is missing from the AppleSearch folder in the
                               Preferences folder (inside the System Folder).
                                Quit the AppleSearch Server program, drag the WAIS Gateway file from
                                the AppleSearch Server installation disk to the AppleSearch folder in the
                                Preferences folder (inside the System Folder) to copy it there, and then
                                restart your server and AppleSearch Server program. (Simply dragging this
                                file to the System Folder will not put the file into the correct folder.)
                             • The physical connection to the Internet is malfunctioning.
                                Check with your network support professionals.
                             • The TCP/IP software is not installed or is configured incorrectly.
                                Ensure that you have the MacTCP software and that it is installed correctly.
                                With the Macintosh Operating System, you must have MacTCP version 2.0.4.

                                IMPORTANT If you are running A/UX, you must use the version of MacTCP
                                that shipped with your system. Do not replace it with another version, even
                                though that version may seem newer.

                                Ensure that you know the correct values for your Internet address, your
                                Internet gateway address, your domain name server address, and your
                                subnet mask (if any).
                                Check the configuration information in the MacTCP and MacTCP Admin
                                control panels.




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       If you are using A/UX, ensure that you are running a kernel configured for
       Berkeley networking (BNET) services, and check the configuration
       information in the following files:
       /ete/inittab
       /ete/HOSTNAME
       fete/hosts
       /ete/NETADDRS
       /ete/re
       /ete/resolv.eonf
       /ete/SYSNAJ'.1E




                                                   WAIS databases do not appear   75




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Appendix C Setting Access PI~ivileges and
           Sharing Volumes and Folders


             Before users can search the contents of a volume or folder, you need to share it
             and set access privileges to it. By shating the volume or folder, you specify that it
             is available for use over the network. By assigning access privileges, you give
             permission to guests and each registered user to perform specific types of
             activities with the volume or folder.
             The way you set access privileges and share folders differs slightly depending
             on whether you're using AppleS hare or file sharing. This appendix
             summarizes the steps you perform to share folders and set access privileges by
             using AppleShare or the Macintosh file-sharing feature of System 7.
             For detailed information about setting access privileges and sharing folders by
             using AppleShat-e, refer to the AppleShare Administrator s Guide. For detailed
             information about setting access privileges and sharing folders by using file
             sharing, refer to the networking chapter in the Macintosh User s Guide or
             Macintosh Reference that came with your computer.
             If you install AppleShare on your server, file sharing is disabled.




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    Registering users with AppleShare
                         To register users, you use the AppleShare Admin program to enter a list of
                         users into the Users & Groups data file.

                         To register users:
                     1   Start the AppleShare Admin program.

                     2   Choose Create User from the Users menu.
                         A New User window appears.

                     3   Enter the user's name.
                         A name can be up to 30 characters long.
                     4   Enter a password for the user.

                     5   Click Program Linking Enabled and select any other AppleShare options you want.
                         With program linking activated, specified users can create a link between the
                         AppleSearch server and their computer.
                         A checkmark should appear in the box for each option you've selected. To
                         deselect an option, click the checkbox so that the checkmark does not appear.



   Sharing a volume or folder by                     AppieShare
                         To make an information source available for searching, you must designate the
                         volume or folder of documents represented by the information source as shared.

                         To share a volume or folder and allow users access to it:
                     1   Start the AppleShare Admin program.

                     2   Choose Access Information from the Privileges menu.
                         The Access Information window opens.




   78   Appendix C I Setting Access Privileges and Sharing Volumes and Folders




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                                                 Rccess Information
Select a hard disk                l10lumes   I
or folder here.




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                                                      Foldo&rs Filo?5 Chaogt's ~
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                                     0 0 0
                          Us@r/Group: L -_ _ _- '

                                     0 0 0
                                    Everyon@:
Click here to confirm --r======;=~:=.~~~~~~~
the entries.




                     3   Select a volume, or a folder of documents, from the Volumes list.
                         You may have to scroll through the list to find the volume or folder you want.

                     4   Click Share to share the volume or folder.
                         The volume or folder name appears in the Shared Items box.
                         By sharing the volume or folder, you make the documents within it available
                         for searching. You can modify the contents of this shared volume or folder
                         anytime, but changes won't be accessible to AppleSearch reporters until after
                         you index the corresponding information source.

                     5   For folders, deselect the "Same as Enclosing Folder" option.
                         Later you may want to place a folder of documents inside the information source.
                         Depending on your needs, you may want to activate the "Same as Enclosing
                         Folder" option to apply the same access privileges to the nested folder as those
                         of its enclosing folder; or you may want to leave the option disabled and grant
                         access privileges only to certain users for the nested folder.

                     6   Enter the privileges you want to apply.
                         Typically, you will want to apply See Files and See Folders privileges so that
                         users can see the available information sources and the documents they contain.
                         Select Make Changes only if you want AppleSearch users to be able to add
                         new documents or modify existing ones.




                                                                         Sharing a volume or folder by using AppleShare   79




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                   7    Assign an owner to the volume or folder.
                        The administrator is the default owner of all volumes and of all folders within
                        the volume.

                   8    Assign a user or group to the volume or folder.
                        You can choose any group or any individual.
                        a. Choose User List from the Users menu.
                        b. Choose Group List from the Groups menu.
                             The User and Group lists appear.
                        c. Select the user or group for which you're assigning privileges.
                             You can choose one user or one group.
                        d. Select the icon of that user or group and drag it to the User/Group box in the
                           Access Information window.
                             The new name appears in the User/Group box. The group or individual user
                             receives all of the user access privileges you have designated. All other
                             users and guests are restriCted to the privileges designated for Everyone.

                   9    Click Save.



  Registering users with file sharing
                        To register AppleSearch users and provide guest access privileges with the
                        file-sharing capabilities of System 7:

                        Open the Users &Groups control panel and choose New User from the File menu.
                        A new user icon appears in the Users & Groups window with the default name
                        New User highlighted.

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  80   Appendix C I Setting Access Privileges and Sharing Volumes and Folders
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 2   Type the name of a person you want to register.
     The name you type replaces the default name.

                              Users 6' Groups



                                    I~


 3   Open the icon of the new user.
     A window opens, with the user name as its title.

     ~D              New User
                  User P as:syord:


           File Sharing
           o Anow    ~r to connect
           [8J Allow user to ohange p~S:$word

           Groups:




           Program linKing
           (8) Allow \JSI':W to link to programs
                                                   Click here to allow this user
               on this Macintosh                   to link to AppleSearch.


 4   Select the Program Linking checkbox at the bottom of the window.
     You can also assign passwords for registered users to verify their identities
     when they want to gain access to another computer.

 5   Name additional users and groups by repeating steps 1 through 4. When you're finished,
     close the Users & Groups control panel.

     To specify a group of registered users, open the Users & Groups control panel
     and choose New Group from the File menu. Next, replace the name New
     Group with a name for the group. Finally, drag the icon of each person that
     you want to be a member of the group to the new group icon. Open the new
     group icon and activate program linking.




                                                                    Registering users with file sharing   81




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  Sharing a volume or folder by using file sharing
                         To make an information source available for searching, you must designate
                         the volume or folder of documents corresponding to the information source
                         as shared.

                         To share a volume or folder by using file sharing:
                         From the Finder, select a folder, hard disk, or CD-ROM to share by clicking its icon.

                    2    Choose Sharing from the File menu.
                         A window similar to this one opens.

                                            AppleSearch documents




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                                  Owne-r:                                  IE]       81            81
                           USE'r IGroup ~                                  IE]       81            81
                                                 F"'H"I.j(lfie-            IE]        IE]          IE]
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                           D C.an ~t b~ mov~.j r'en~m~;j ,)t- .j€<l~t;:d
                                                  i




                    3    Click the box labeled "Share this item and its contents" so that a checkmark appears in it.

                    4    Assign an owner to the volume or folder.
                         The administrator is the default owner of all volumes and of all folders within
                         the volume.
                    5    Enter the privileges that you want to apply.
                         Typically, you will want to apply only See Folders and See Files privileges.
                         Click Make Changes only if you want AppleSearch users to be able to add
                         new documents or modify existing ones.
                    a    ASSign a user or group to the volume or folder by using the "User/Group pop-up menu.
                         The users and groups from the Users & Groups control panel are listed in the
                         pop-up menu.




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  7   Close the window.
      A dialog box appears, asking if you want to save your changes.
  8   Click Save to save your changes.




                                         Sharing a volume or folder by using file sharing   83




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   Appendix 0 Making an AppleSearch Pre-indexed CD-ROM



                       An AppleSearch pre-indexed CD-ROM contains the content (the original
                       documents) of an information source and its AppleSearch index (a list of
                       searchable words contained in that information source). This appendix
                       describes how to place an information source and its index on a CD-ROM
                       disc, a process that is very easy and inexpensive.

                       By placing an information source and its index on a CD-ROM, you can create
                       multiple copies of read-only material, each of which is immediately ready for
                       searching. For example, you might want to place historical information, such
                       as a previous year's auditing or sales records, meteorological patterns, or any
                       other permanent source of information, on any number of CD-ROM discs and
                       make them available to your remote AppleSearch sites.

                       Before you can create a CD-ROM master, you need to store the information
                       source and its index on an external hard disk. Then you move the external hard
                       disk to a CD-ROM mastering unit that can make a CD-ROM master.




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                         To make a pre-indexed CD-ROM:

                     1   Identify a shared volume or folder of documents that you want to become the
                         information source on a CD-ROM.

                     2   Move the shared volume or folder that you want to be an information source to an
                         external hard disk.

                     3   Choose Information Sources from the Server menu.
                         The Information Sources window opens.


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                                  Size: 680SK ,)1' tl?d in 2255 ,j')ClJfMntz
                                  la'st Updated: Suo, Apr 10) 1994 J 8 :07 Pf-1




                     4   In the list on the left side of the window, click the name of the shared volume or folder
                         that you want to designate as an information source.
                         The selected volume or folder is displayed in the left side of the window. Use
                         the pull-down menu, if necessary, to find the correct item. This is the item that
                         you will place on the CD-ROM as an information source.

                     5   Click the Add button.
                         This action adds, or designates, the volume or folder as an information source.
                         An index options dialog box appears.




    86   Appendix D I Making an AppleSearch Pre-indexed CD-ROM




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                              "literature" Options



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            the Vr..l/Jfii€' snDvm aboy",




                                        [ Cancel                1 II              01(              J)


 6   In the dialog box, select the external hard disk on which the information source resides,
     so that the index files associated with the information source will be stored on the same
     disk.
     If necessary, use the "Store index on" pop-up menu to locate the COlTCCt
     external hard disk.
 7   Click OK.
     The Information Sources window becomes the active window.
 8   Compact the index to reorganize its files.
     Select the information source in the list on the right side of the window and
     click the Compact button.
     This action will result in the most efficient use of disk space.
 9   Shut down the computer and disconnect the external hard disk that contains the
     information source and index that you want to place on a CD-ROM.

10   Attach the external hard disk to a CD-ROM mastering unit.

11   Create the CD·ROM master disc.
     Follow the instructions that accompany your CD-ROM mastering unit.

     IMPORTANT The CD-ROM mastering process that you use must make an exact
     image copy (in other words, a sector copy) of the hard disk. Some units do a
     file copy, rather than a sector copy; a file copy will render the AppleSearch index
     unusable, since file IDs (stored in the index file) are not preserved during a file
     copy operation.

     You may want to inform the recipients of the pre-indexed CD-ROM that they
     can improve searching speed by copying the index from the CD-ROM to a
     hard disk, as described in Chapter 2 .


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                                                                                         Making an AppleSearch Pre-indexed CD-ROM   87
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Glossary




access privileges Privileges that allow users to        AIUX An implementation of the UNIX operating
open and make changes to a shared disk or folder        system that runs on Macintosh computers.
and its contents. Access to the information stored on   Boolean operators Special qualifying terms such
an AppleSearch server is determined by access           as alld, or, and not that are used to broaden or
privileges, which are assigned by the network           natTOW the scope of a search.
administrator.
                                                        client A computer that has access to services, such
Advanced Research Projects Agency Internet              as AppleSearch, on a network. The computers that
(ARPANET) A wide area network that served as a          provide services are called servers. A user of a
basis for networking research and provided a central    client computer can request services such as
backbone during development of the Internet.            information search and retrieval, printing, and so
AppleShare Macintosh software that allows               on, from servers on the network.
Macintosh users on an AppleTalk network system          co-occurring words A feature of AppleSearch that
to share files and programs by viewing and copying      allows a user to expand a search by finding the
files that reside on an AppleShare file server. See     words that occur most frequently with a specified
also AppleTalk network system.                          search word in the documents found during a search.
AppleShare Admin An application program that is         compacting A feature of AppleSearch that
used to prepare server volumes and then to register     reorganizes the contents of an index file in a way
users, to create groups, and to set and check access    that stores data most efficiently and that frees up
privileges to folders.                                  disk space as a result.
AppleTalk network system A network system               document The original fonnatted source file as it
that comprises a set of protocols, each of which        exists on a shared disk or in a shared folder and from
governs a different aspect of the communications        which the full text can be extracted to answer an
process, such as how network devices are identified     AppleSearch user's search request. Compare article.
and how data is formatted for transmission.
                                                        EtherTalk Apple's data-link product that allows a
article The full text of a document retrieved by an     high-speed AppleTalk network to be connected by
AppleSearch reporter. Compare document.                 Ethernet cables. Compare TokenTalk and LocalTalk.
article viewing window An AppleSearch window            file sharing The capability of sharing files among
that displays an article (full text of a document)      computers on a network. File sharing is a built-in
opened from the reporter window. Compare update         feature of system software version 7.0 or later.
viewing window.




                                                                                                                 APLNDC630-0000442042
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   group A named collection of one or more                      local area network (LAN) A group of computers
   registered AppleSearch users. Groups are usually             connected for the purpose of sharing resources. The
   created for users who have commOn interests and              computers on a local area network are typically
   share information.                                           joined by a single type of transmission cable and are
   guest user Someone who is logged on to the                   located within a small area such as a single building
   AppleSearch server without a registered user name            or section of a building.
   and password. A guest user can perform                       local information source An information source
   immediate searches, but cannot save reporters or             for which the contents and index are stored on a
   schedule reporters. Compare registered user.                 device local to the AppleSearch server (that is,
   hiding An AppleSearch feature that makes an                  connected directly to the server through a SCSI
   inforn1ation source temporarily unavailable for              bus). See also information source.
   searching. Any changes made to the hidden                    LocalTalk The type of AppleTalk network that lIses
   information source are still acknowledged by the             the connection software and hardware built into
   server for indexing purposes. Compare showing.               Macintosh computers. The LocalTalk cable attaches
   indexing An AppleSearch feature that builds a list           to the Macintosh printer port. Compare EtherTalk
   of every distinctive search word in a given information      and Tokel1Talk.
   source. The resulting index file also contains statistical   MacTCP Macintosh software that implements the
   information about the number of times certain                TCP/IP protocol suite.
   words appear in the information source and their             Make Changes The access privilege that gives a
   relationship to each other. AppleSearch uses the             user or group the right to make changes to a f0lder's
   index file for matching search words in the                  or directory's contents.
   information source against those in the user's search
   request, referencing the original source documents,          network A group of computers and other devices
   and ordering the search results by relevance rank.           (such as printers) linked by means of connectors
                                                                and cables. Specially designed software allows the
   information source A shared collection of                    devices on the network to exchange information.
   documents that the AppleSearch administrator has
   designated as searchable by AppleSearch reporters.           network administrator The person responsible for
   See also local information source, WAIS                      setting up and maintaining the network. This
   information source.                                          individual designates registered users of AppleSearch,
                                                                maintains information sources, and monitors the
   internet An interconnected group of networks.                status of the server.
   When written as Internet, refers to the ARPANET.
                                                                network services The capabilities that the network
  internet address A 32-bit address assigned to every           system delivers to users, such as printing on network
  computer that uses TCPJIP protocols to communicate            printers, using AppleSearch on network file servers,
  across an internet. Also called the IP address.               or communicating through electronic mail.
  LAN See local area net1<vork.                                 program linking The ability of an application
                                                                program to exchange information directly with
                                                                another program over a network.
                                                                protocol A set of rules that computers must follow
                                                                to exchange data over a network.




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registered user Someone for whom a unique user           session A logical connection between an
name and (usually) a password have been entered on       AppleSearch client and an AppleSearch server. This
the server. Registered AppleSearch users can save and    connection allows the server and client computers
schedule reporters. Compare guest llser.                 to interact. so that users can, for example, conduct
relevance ranking A statistical measure that             information searches.
evaluates all the articles in an information source      sharing The ability to see folders, see files, or make
according to how well they answer a user's search        changes to a shared disk or folder. The owner of the
request.                                                 shared item assigns access privileges that determine
remote information source An information source          what other network users can do with the disk or
that represents an indexed collection of information     folder and its contents. See also access privileges.
on a computer other than the AppleSearch server.         showing A feature that allows the AppleSearch
See also inforll1ation source, load information          administralor to make an infomlation source available
source, WAfS inforll1ation source.                       for searching that was previously made unavailable
reporter An electronic search agent that actively        with the Hide feature. Compare hiding.
finds information in response to a user's search         stemming A function of AppleSearch that
request. The reporter is created in a Macintosh          recognizes the root words in each article.
window called a reporter IvhuloH'. The actual            Stemming removes common suffixes from words
reporter resides on an AppleSearch server but is         and extracts the root word for matching purposes.
created and used by client computers.                    See also root word.
root word A base portion of a search word that           stopwords Those words that a reporter ignores as
allows AppleSearch to identify variations of that        part of the search process. A list of stopwords exists
word. Root words are derived through an                  as a file in the AppleSearch Server software. This
AppleSearch process called stemming.                     list includes interrogatory words (who, what, why.
scheduled reporter A user-defined reporter that          and so forth), a11icles (the, a, all, and so forth),
performs an information search at a specific time        prepositions (jor, with, of, and so forth), and others that
and on a specific date, then delivers the results as a   tend to lack a specific, noncontextual meaning.
newspaper-like update to the user's disk.                Compare search words.

search words Those words that a reporter uses as         TokenTalk A type of AppleTalk network that uses
part of the search process. Search words carry           AppleTalk protocols in a token ring environment.
distinctive meanings. Compare stopwords.                 Compare LocalTalk and EtherTalk.

See Files The access privilege that gives a user or      update A newspaper-like document delivered to a
group the right to open and copy documents and           user's disk by a scheduled reporter. An update
applications in a folder.                                contains information that is new or that has been
                                                         modified since the previous search by that reporter.
See Folders The access privilege that gives a user       See also scheduled reporter.
or group the right to see folders within a folder.
                                                         update viewing window An AppleSearch window
server A computer that provides a particular service     that displays the full text of an article opened from
across a network. The service may be information         an update. Compare article viewing window.
search and retrieval, electronic mail, printing, and
so OIL Computers from which people use the service       WAIS See wide area information server.
are called clients.




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     WAIS directory server A special W AIS server          XTND A technology used by Apple Computer that
     whose information database contains addresses for     allows the AppleSearch software to extract plain
     other W AIS servers. See also wide area information   text from various document types-stripping out
     seiTer.                                               graphics. formatting, and other non-text attributes-
     W AIS information source An information source        for indexing, viewing, and searching purposes. The
     that represents a WAIS database. See also wide        XTND technology is applied through the use of file-
     area information server.                              format translators, each of which is specific to a
                                                           given document format. For example, for an
     WAIS server See wide area illformation server.        AppleSearch client to extract the plain text from a
     wide area information server (WAIS) A server          MacWrite document, the XTND translator for
     that conforms to specific standards in making a       MacWrite must be present on the AppleSearch server.
     collection of documents available as a W AIS
     database for information search and retrieval.




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                  The Apple Publishing System

                  AppleSearch Administrator's Guide was written, edited, and
                  composed on a desktop publishing system using Apple
                  Macintosh computers, an AppleTalk network system, Microsoft
                  Word, and QuarkXPress. Line art was created with Adobe
                  Illustrator. Proof pages were printed on Apple LaserWriter
                  printers. Final pages were output directly to 70-mm separated
                  film on an Electrocomp 2000 Electron Beam Recorder.
                  PostScriptTlv1 , the LaserWriter page-description language, was
                  developed by Adobe Systems Incorporated.
                  Text type is Times®, display type is Helvetica® Narrow, and
                  cover type is AppleGaramond, Apple's corporate font.
                  Omaments are custom symbols designed for Apple Computer.
                  Some elements, such as computer voice, are set in Apple
                  Courier, a fixed-width font.




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